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OHlGlN-AL

IN 'I‘HE COURT OF COMMON PLEAS
H.AMILTON COUNTY, OHIO
CIVIL DIVISION

MICHELLE&CHARLIE BEAVAN ; caseNo_ A 1 5 0 5 4 2 3
875 A'l.ll.`Umfl Ct. :

Trenton, OH 4506‘7

JUDGE
mainqu .
: coMPLAINT
v. : & JURY DEMAND
AB!JBAKAR ATIQ DURRANI, M.n.,
Pakistan
(Served via Hague Convention)
And (ALL NEW DR. DURRANI
z cAsEs sHALL Go To
cENTER FoR ADVANCED srlNE : JUDGE RUEHLMAN PER
TECHNoLoGlEs, lNC. : Hls 0R1)ER)
(Served via Hague Convention)
And
JoURNEY LlTE oF cmcmNATl, LLC':
10475 READING RD., sUITE 115
cINCINNATI, 0H 45241
saksz cT coRPoRATION sYsTEM ,_,
1300 EAST NlNTH sTREET §§ _, §§
cLEvELAND, oH 44114 REGuL,, ;-_= g ~n
- RMAI r" - """
(serv¢ via certified main ; '- WA:vER -S=_~_ l -' -r:_
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And - 33 ' '° m
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BARmTRIc PARTNERS oF TExAs, : _~¢§-f-,-;, ‘>’
mc. : §§ §
Serve: :
cT coRPORATloN
150 FAYETTEVILLE S,'I'REEJ|`i _
Box 101 1 ULM M
RALE]GH, Nc 27601 ; “ll- mrka EXHIBIT A
(Serve via Certified mail)

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Dl l2238054 lNl

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And

BARIATRIC PARTNERS OF TEXAS,
LLC

Serve:
MYA RA, LLC
150 FAYE'ITEVILLE STREET
BOX 1011 :
R.ALE]GH, NC 27601 REcuLAR

' V
And ' ER

ASCIRA PARTNERS, LLC

Serve:
JoHN w. Tsz .
1600 DIvIsIoN sTREET gm -
surrE 700 ':"“R MAH. w,m.ER
NASHV]LLE, TN 31203-2271
And

TRACE CURRY

.Toumey Lite of Cincinnati LLC

CT Corporation Systems :

1300 Easc 9111 street "E'GULAR MML
cleveland 01-1 44114 : “’4"'11:11
And

ELLIo'rr FEGELMAN
10475 READlNG ROAD =
clNclNNATI, oH 45241 wova Mau. w.m,-ER

And

JEFFREY A. BoGLE

4009 HILLSBORO PIKE

sUITE 209 nom
NASHVILLE, TN 37215 :“"A"- wang

And

MICHAEL GOULD
4009 HILLSBORO PIKE
SUTI`E 209 '

REGULAR MAIL WA IVER

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NASHVILLE, 'I'N 37215

And

DAVI]) E. MCCLELLAN

10475 READING ROAD

surrs 115 :

CH~ICH~INAH on, 45220 "Ef-`vr.an ma wAWER

Defendants.

 

Come now Plaintiffs, Miche]le and Charlie Beavan, and iile this Complaint and

jury demand and state as follows:

l.

At all times relevant, Plaintiffs were residents of and domiciled in the State of
Ohio.

At all times relevant, Defendant Dr. Abubalcar Atiq Durrani (hereinal’cer “Dr.
Durrani") was licensed to and did in fact practice medicine in the State of Ohio.
At all times relevant, Center for Advanced Spine Technologies, Inc. (hereinai’cer
“CAS'I"), was licensed to and did in fact perform medical services in the State of
Ohic, and was and is a corporation authorized to transact business in the State of
Ohio and Kentuclcy.

At all times relevant, Journey Lite of Cincinnati, LLC ("lourney Lite") was a
Delaware corporation transacting business and performing and managing medical
services in the State of Ohio and held itself out to the public, and specifically to
the Plaintiff as a center providing competent and qualified medical and nursing
services, care and treatment by and through its physicians, physicians in training,
residents, nurses, agents, ostensible agents, servants andjor employees

Det`endants, Bariatric Partners 13chan Inc., Bariatric of Texas, LLC, Ascira

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Partners, LLC, and Center for Advanced Spine Technologies, lnc. and/or were
also owners and/ or managers of Joumey Lite.

6. David McClellan is the Controller/Admirustrator of loumey of Ciucinnati, LLC
and involved with the management of.louruey Lite.

7. Dr. Durrani, Trace Curry, Elliott Fegelman and Bariatn'c Partners, Inc were
owners and directors of CAST.

8. The amount in controversy exceeds the jurisdictional threshold of this Court.

9. The subject matter of the Complaint arises out of medical treatment by the
Defendants in Hamilton County, Ohjo. This Court is thus the proper venue to
grant the Plaintiff the relief she seeks.

10. The amount in controversy exceeds the jurisdictional threshold of this Court.

Il. The subject matter of the Complaint arises out of medical treatment by
Defenrlants in Hemilton County, Ohio. 'l`his Cou!t is thus the proper venue to
grant Plaintiff the relief soughtl

12. This case was previously set for trial and Plainb`fl"s 41 (A) Voluntarily Dismissed
this case and are now re-flling this ease.

FACTUAL ALLEGATIONS OF P lFF

13. In January 2013, Plaintiff's primary care physician, Dr. Schumulewitz, referred
her to Dr. Durrani at his CAST office

l4. At the time, Plaintiff was experiencing pain in her neck, as well as numbness and

tingling sensations radiating down into her left arm.

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15. Dr. Durrani ordered Plaintift` to have x-rays taken prior to their first consultation
Upon review of the x-ray iiirns, Dr. Durrani immediately recommended that
Plaintiff undergo surgery.

16. Dr. Durrani assured the Plaintiff that he could “iix” her.

17. On March 29, 2013, Dr. Durrani performed surgery on the Plaintiff consisting of
an anterior cervical fusion with the installation of hardware at Joumey Lite.

18. Plaintift` was discharged the same day, and attended follow-up appointments with
Dr. Durrani for steroid injections and regular check-ups.

19. During her two-week follow-up with Dr. Durram°, he told Plaintil’f that she could
discontinue using the hard neck brace she had been wearing since the surgery and
transition to a soft neck brace.

20. Shortly after moving to the soft neck brace, Plaintiff began to suffer from sharp
pains in both sides of her neck radiating down her spine ln addition, the lingling
sensations she had previously suffered ii'orn returned much worse than before,
now extending all the way down her arms to her fmgertips.

21 . Plaintiff also lost much of her tlexibility, and must now regularly wear a neck
brace to stabilize her head.

22. Though Piaintiff has thought to seek the advice of other healthcare professionals
to correct the damage done to her cervical spine, she is too afraid of the possible
harm that could come to her as a result ofDr. Durran.i's surgery.

23. Upon information and belief, Dr. Dunani used lnfuseJBMP-2 “oft`-label“ andlor
Puregen without Ms. Shepherd’s knowledge or consent, causing Ms. Shepherd

harm.

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24. The use of BMP-Z increases a person’s chance of cancer by 3.5%.
25 . Due to the unnecessary surgeries Dr. Durrani performed, Plaintii'f has a 3.5%
increased chance of cancer because of the use ofBMP-Z.

26. As a direct and proximate result of the use and implementation of
lnfuse/BMP-2 Plaintiii' has incurred a 3.5% increase in the risk of Canccr. As aresult
Plaintit`t` has an increased fear of cancer.
27- Upon information and beliet`, the surgery performed by Dr. Durrani was medically
unnecessary and improperly performed
28. As a direct and proximate result of this surgery and Dr. Durrani’s negligence, the
Plaintifi`s have suffered harm.
29. Piaintifl"s did not become aware of Dr. Dnrrani's use of lnfuse/BMP-2 until legal

counsel reviewed Plaintift`s’ records.

MOR.E SPECIFIC ALLEGATIONS BASED UP§L§ DISCOVERY AND
DEPOSITION TESTIMQH g

30. This information is to demonstrate the overall negligence and inappropriate
actions ofDr. Dun'ani and the hospitals he worked with and/or for and/or in an individual
capacity.

31. Krissy Probst was Dr. Durrani's professional and personal assistant handling
professional, acadernic, travel, surgery scheduling his journals, his Boards, his
credentialing, his personal affairs and his bills.

32. Krissy Probst worked as Dr. Durrani’s assistant for three years at Children's

Hospital li'om 2006, 2007, and 2008.

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33. K.rissy Probst reported Dr. Durrani to Sandy Singletou, the Business Director at
Children's for his having an affair with Jamie Moor, his physician assistant

34. Kn'ssy Probst resigned in 2008 from Dr. Durrani and remained working for three
other surgeons in the Orthopedic_Department.

35 . Krissy Probst worked in the Orthopedic Departrnent for eleven years from 2002-
2.013. She retired in May, 2013.

36. Krissy Probst con£rmed Dr. Durrani claims being a Prince, when he is not.

37. According to K.rissy Probst, Dr. Crawford, an icon in pediatric orthopedics treated Dr.
Durrani “like a son.”

38. According to Krissy Probst, Dr. Crawford, Chief oi` Orthopedics at Children's
unconditionally supported Dr. Durrani no matter the issues and problems Dr. Durrani
faced.

39. Dr. Durrani’s patient care at Children's Hospital dropped off considerably after Jarnie
Moor became his physician assistant and they began their affair.

40. Dr. Durrani was the only orthopedic spine surgeon at Children’s who would perform
a dangerous high volume ofsurgeries.

41 . At Children’s, Dr. Durrani would begin a surgery, leave and have fellows and
residents complete a surgery or do the full surgery while he was in his office with
Iarnie Moor, his physician assistant for four or iive hours.

42. Ch:ildren’s Board and administration knew about Dr. Durrarii doing too many

surgeries and not properly doing the surgeries. They did nothing.

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43. Dr. Durrani argued to Children`s administration when they complained to him that he
made them money so Children’s tolerated him and allowed him to do what he
wanted.

44. Dr. Durrani, when told by Children’s that Jamie Moor had to leave, told Children’s
that he would leave too.

45. Dr. Agabagi would do one spine patient a day at Childrca's because it takes normally
eight hours for a full fusion.

46. Dr. Durrani would schedule two to three spine surgeries a day at Children's.

47. Dr. Durrani would repeatedly have the Business Director, Sandy Singleton, or OR
Director allow him to add surgeries claiming they were emergencies when they were
not.

48. Dr. Durrani would leave a spine surgery patient for four or live hours in the surgery
suite under the care of fellows or residents, unsupervised and sit in his office and
check on the surgery as he pleased.

49. Dr. Peter Stem did not like Dr. Durrani while Dr. Durrani was at Children’s because
he knew all about his patient safety risk issues. Yet, Dr. Stem supported, aided and
abetted Dr. Durrani’s arrival at West Chester. lt defies comprehension, but was for
one of the worid’s oldest motives-greed ofmoney.

50. ‘Ihere is also a Dr. Peter Sturrn, an orthopedic at Children’s who also had no use for
Dr. Durrani.

51. Dr. Durrani chose his own codes for Chiidren’s billing which he manipulated with the

full knowledge of Children’s Board and managementl

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52. Dr. Durrani was dating and living with Beth Garrett, a nursing school drop-out, with
the full knowledge of his wife Shazia.

53. Dr. Durrani was close with David Rattigan until David Rattigan pursued Jamie Moor
and Dr. Durrani would not allow David Rattigan in the OR at Children’s for a long _
time.

54. Dr. Durrani, while claiming to have riches, does not. `Dr. Durrani’s wife’s family
paid for Dr. Duxrani’s education and it is her farnin with the significant wealth.

55 . Medtronics paid for Dr. Durrani's trips and paid him $10,000 fees for speaking or
simply showing up at a spine conference

§6. Krissy Probst’s business director told her to save all Dr. Durrani related documents
and information and she did.

57. While doing research at Children’s, Dr. Durrani would misstate facts regarding his
research. Children’s knew he did this.

58. Dr. Durrani ended on such bad terms with Children's Hospital he was not allowed on
the premises after his departure in Deoember 2008, yet he performed a spine surgery
there in February 2009.

59. Eric J. Wall, MD was the Director of Surgical Serviees Division of Pediatric
Orthopedie Surgery when Dr. Durrani left Ch.ildren's.

60. Sandy Singleton, MBA was the Senior Business Director of Surgical Services
Division of Pediatric Orthopedic Surgery when Dr. Durrani left Children’s.

61. On information and belief, Dr. Durrani used his relationships with Children’s ohioials
to purge his Children’s file of all patient safety and legal issues which had occurred as

part of his departure “deal“ which Defendants hide with pn`vilege.

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I.

§§ EU§E[§M P-Z
§,AC§GROUND INFORMATION

62. The Deters Law Firm, P.S.C., represents approximately 500 Plaintiffs in medical

63.

malpractice actions against a fenner Northern Kentucky/Cincinnati-area spine
surgeon named Abubakar Atiq Dr. Durrani (Dr. Durraui), his company, Center for
Advanced Spine Technologies, Inc. (CAST), and several area hospitals including but
not limited to, West Chester Hospita.l (WCl-I), University of Cincinnati Health (UC
Health), Cincinnati Children’s Hospital Medical Center (CCHMC), Christ Hospital,
Deaconess Hospital, Good Samaritan Hospital and Joumey Lite of Cincinnati, LLC
(Journey Lite) (coilectively Hospitals).

Dr. Durrani performed unnecessary, ii'auduient, dangerous, and ultimately damaging

surgeries on these Plaintiffs while working for and with these Hospitals.

64. The scheme and artifice to defraud that Dr. Durrani devised, executed, and attempted

to execute while working for and with the Hospitals included the following patterns
and practices:

a. Dr. Durrani persuaded the patient that surgery was the only option, when in
fact the patient did not need surgery. '

b. Dr. Durrani told the patient that the medical situation was urgent and
required immediate surgery. He also falsely told the patient that helshe was
at risk of grave injuries without the surgery.

c. Dr. Durrani often told his cervical spine patients that they risked paralysis

or that his/her head would fall off ifhelshe was involved in a car accident,

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ostensibly because there was almost nothing attaching the head to the
patient’s body.

d. Dr. Durrani often ordered imaging studies such as x-rays, CT scans, or
MRIs for patients but either did not read or ignored the resulting radiology
reports.

e. Dr. Durrani often provided his own exaggerated and dire reading of the
patient’s hanging study that was either inconsistent with or was plainly
contradicted by the radiologist’s report. At times, Dr. Durrani provided a
false reading of the imaging.

f. Dr. Durrani often dictated that he had performed certain physical
examinations and procedures on patients that he did not actually perforrn.

g. Dr. Durrani often ordered a pain injection for a level of the spine that was
inconsistent with the pain stated by the patient or with that indicated by the
imaging. Dr. Durrani also scheduled patients for surgeries without learning
of or waiting for the results of certain pain injections or related therapies.

h. Dr. Durrani often dictated his operative reports or other patient records
months after the actual treatment had occurred.

i. Dr. Durrani‘s operative reports and treatment records contained false
statements about the patient‘s diagnosis, the procedure performed, and the
instrumentation used in the procedure

j. When a patient experienced complications resulting from the surgery, Dr.
Durrani at times failed to inform the patient of, or misrepresented the nature

of, the complications

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k. All of the above-mentioned actions were done with the knowledge
cooperation, or intentional ignorance of the Hospitals because Dr. Durrani
was one of the biggest moneyrnakers for the Hcspitals.

65. In addition to the civil medical malpractice actions against Dr. Duuani, on August 7,
2013, he was indicted by the Federal Government for performing unnecessary
surgeries and for defrauding the Medicare and Medicaid programs. Specilically, the
ten-count complaint charged Dr. Durrani with health care fraud, in violation of 18
U.S.C. § 1347, and making false statements in health care matters, in violation of 18
U.S.C. § 103 5. There was a subsequent superseding indictment adding over 30 counts.

66, Following these criminal indictments, in December of 201 3 and prior to the first
Plaintifi"s trial in these actions, Dr. Durrani fled the United States and returned to
Pakistan. l-Ie has not returned to the United States to face allegations of either
criminal cr civil liability.

67. Among Dr. Durrani’s and the Hospitals’ professional failings was the use of a
synthetic bone~morphogenetic protein called BMP-Z, which was marketed under the
trade name “lnfuse.” Dr. Durrani used BMP-Z/lnfuse in ways that were either not
approved by the federal Food and Drug Administration (FDA) or that were
specifically contraindicated as noted on the FDA-approved product labeling The
Defendants had iiill knowledge of this fact.

68. BMP-lenfuse was, at the time of the surgeries in question, and currently still is
manufactured by a company called Medtronic, lnc. (Medtronic).

69. Dr. Durrani predominantly used BMP-2/lni`use on patients at WCl-l, which is owned

by Uc Henm.

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70. lt is Plaintift`s’ position that this non-FDA-approved use of BMP-zllnfuse was not
only negligent, and fraudulent, but criminal based upon the manner in which it was
allowed to be used by Dr. Durrani at West Chester, all with the knowledge and hill
support of the Defendants

II. THE PLAYEB§ REGARD]NG BMP-Z

71 . Dr. Durrani is a citizen of the Republic ofPakistan and was a permanent resident of the
United States who, from approximately 2005 to 2013, worked as a spine surgeon in
and around Cincinnati, Ohio, until he fled the United States to escape civil liability and
criminal prosecution

72. Medtronic is an lrish corporation, with its principal executive office located in Dublin,
lreland, and its operational headquarters located in Minneapolis, Minnesota. Medtronic
is the world's third largest medical device company and manufactures and markets
BMP-Z/Infuse. Medtronic sales representatives were also present during the
expenm-tal surgeries performed on Plainti ffs, who are clients of the Deters Law Firm.

73. CAST was a corporation organized under the laws of Ohio and had business and
medical offices in Florence, Kentucky and Evendale, Ohio. CAST was owned, in Whole
or in parl, by Dr. Durrani.

74. Bahler Medical, lnc. is a manufacturer of medical implants and is a corporation located
in the state of Ohio.

75 . David Rattigan is an Ohio resident and was and is a sales representative for Medtronic.
Further, he is afiiliated with Bahler Medical, lnc., was involved in many of the
transactions involving BMP-2, and was present for the experimental surgeries in which

BMP-2 was used.

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76. West Chester Hospital, LLC is a corporation organized under the laws of Ohio. lt
provides medical facilities and billing support to physicians, including Dr. Durrani, in
the state of Ohio. WCH is owned by UC Health.

77. UC Health is a private, non-proiit corporation organized under the laws of Ohio. It
provides medical facilities, management, administrative, ancillary, and billing support
to physicians, and it owns WCH.

78. CCHMC is a medical facility in Ohio where Dr. Durrani was an employee until
approximately 2008.

ll`I. WHAT IS BMP-Z/INFUSE?

 

79. The full name of BMP-2 is “Recombinant Human Morphogenetic Protein-2" (also
called thMP-Z). The following definitions apply:
a. Recombinant - Artificially created in a lab;
b. Morphogenetic - Evolutionary development of an organism;
c. Protein - Essential for growth and repair of tissue
80. Recombinant human protein (thMP-Z) is currently available for orthopedic usage in
the United States.
81 . Medtronic manufactured marketed, sold, and distributed BMP-2 under the trade name
“Infuse”
82. BMP-2 has-been shown to stimulate the production ofbone.
83. Irnplantation of BMP~Z in a collagen sponge induces new bone formation and can be

used for the treatment of bony defects, delayed union, and non-union.

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BMP-Z AS A BlOLOGIC

84. BMP-2 is not a device, but instead it is a biologic. See July 2009 American Medical
Association Article and 201 I Stanford School of Medicine Article.

85. According_ to the FDA, “[a] ‘biological product* means a virus, therapeutic serum_,
toxin, antitoxin, vaccine, blood, blood component or derivative, allergenic product, or
analogous product, or msphenamine or derivative of arsphenamine (or any other
trivalcnt organic arsenic compound), applicable to the prevention, treatman or cure of
a disease or condition of human beings (Public Health Service
ActSec.SSl (i)1.”Available
hith:)'/www.fda.govllCECI/Inspections/IOM/ucrnl22535.htm.

86. BMP-Z is a Bone-Morphogenetic Protein that is used to promote bone creation and
remolding and falls under the definition ofa biologic. See AMA article (“bone forming
properties”) and Stant`ord Article. BMP-2 differs from a medical device in that once
implanted, it can only be removed days alter surgery. If a patient had a complication
due to BMP-2 and did not discover this complication until year after surgery, the patient
could not have BMP-2 removed to reduce the complication because BMIP-Z is so
integrated into the patient’s bone.

87. A patient has a right to determine what happens to his or her body and the preservation
of that right requires that the patient be informed when a bone growth product, that

causes irreversible harm, is placed in his or her body.

WHEN IS IT USEI)?
88. Recombinant human BMPs are used in orthopedic applications such as spinal iilsions,

non-unions, and oral surgery.

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89. The bone graft contains two parts. The first is a solution of human bone growth protein
or morphogenetic protein-2. 'I'his protein is found in the human body in small dosages
and is important for the healing and formation of bones. The protein is genetically
engineered to be utilized in the Infuse Bone Grai’c product, and it is employed for the
stimulation of formation and growth in bones.

90. The second part ofthe bone graft is an absorbable collagen sponge.

91. Both components of the lntirse Bone Grait structure are used to fill the LT-Cage
Lumbar Tapered Fusion Device. This chamber is intended to restore the deteriorated
disc space to its original height.

92. FDA-approved use for the Infuse Bone Grait product is only for lower back surgery
using an anterior lumbar interbody fusion (ALIF), a technique where the operation on
the spine is conducted through the abdomen.

93. In addition, the infuse Bone Grafc product must be used in conjunction with
Medtronic’s LT-Cage. Use ofBMP-Z without the LT-Cage is considered an “off-label"

l.ISC.

CONTRA]NDICATIONS OF USE

94. The FDA specihcally warns against the use oflnfuse in the cervical spine, citing reports
of “life-threatening complications.”

95. Any use of In{iuse other than in lumbar spine surgeries with the LT-Cage is considered
“off-label” use

96. Inliise should never be used on the skeletally immature patient, i.e., in patients less than
18 years of age or those with no radiographic evidence of epiphyseal closure

97. Iniiise should never be used in the vicinity of a resected or extant tumor.

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98. infuse should never be used in those patients known to have active infection at the

surgical site.

RISKS ASSOCIATED WITH OFF-LABEL USE

99_ When used in an off-l abel manner, patients may experience problems with pregnaney,
including but not limited to: complications in fetal development; allergic reactions to
titanium, bovine type I collagen, or bone morphogenetic protein-Z; infection; the
creation or intensitication of tumors; liver or kidney disease; lupus or human
immunodeiiciency virus (HIV/AI'DS); problems with radiationl chemotherapy, or
steroids if a patient is malignant; paralysis; bowel and/or bladder dysfunctions; sexual
disorders, including sterilization and incompetence; respiratory failure; excessive
bleeding, and; duth.

IV. THE R.EGULATORY PROCE§S

lDO. The Mcdicai Device Amendments (MDA) to the federal Food, Drug, and Cosmetic
Act, 21 U.S.C. § 301 et seq., established two separate approval processes for medical
devices: Pre-Market Approvai {PMA) and Pre-Market Notification.1

101. The FDA's PMA process is lengthy and involves extensive investigation by the
FDA. The PMA application requires manufacturers to submit extensive animal and
human data to establish their devices' safety and effectiveness M._F_IL_§_M_Z_O.
Frequently, an experimental program under close FDA scrutiny must be successfully
completed before FDA approval can be obtained under this process. FDA regulations

also require PMA applicants to submit copies of all proposed labeling for the device. 2_1

 

1 render v. Mearmn:c, ssi F.supp. 1326 fn 1 {s.o. cn.isss).

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C.F.&t § §]¢_1.20{131(10). The FDA approves a PMA application only after extensive
review by the agency and an advisory committee composed of outside experts. 31
.F_ . 3 4 .1

102. ln conu'ast, the FDA’s Pre-Market Notifiea_ticn process is more abbreviated and
involves less PDA oversight This process requires applicants to submit descriptions
of their devices and other information necessary for the agency to determine whether
the devices are substantially equivalent Pre-Market Notiiication applicants must also
submit their proposed lab cling. 21 C.F.R, § 807.87. If the FDA determines that a device
is substantially equivalent to a device that was on the market prior to the enactment of
the MDA in 1976, the applicant is free to market the device.

103. BMP-2 received PMA (PMA number POOOOSB) for the lnfuse/BMP-?_ Lumbar
Tapered Fusion Device, which PMA provided for limited use with speciiic

requirements for its use on individuals See Medtronic Pacltage Insert.

SCOPE OF THE PMA AND PRODUC'I' LABELING
l04. The PMA for BMP-2 provided that the product may only be used in patients with
the following characteristics:
d. Ske]etally mature patient, AND
e. At levels L2-Sl, AND
f. Confirmed degenerative disc disease (DDD), AND

g. Using only an open anterior or anterior laparoscopic approach, ittth3

 

2 Femier v. Medtroni¢:, 887 F.Supp. 1326 fn l (E.D. Cal.1995).
3 The anterior interbody fusion approach was developed because the risk cf non-union {pseudarthrcsis) is
significantly higher in posterior approached The biggest risk factor for fusion surgery is non-uninn.

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h. Six months of non-operative treatment prior to treatment with the device,

i.

AND

ln combination with the metallic LT-CAGE.‘°

See Medtronic Package Insert, “lND_lCATIONS.“

105. According to Medtronic’s package insert for BMP-?Jlnfuse as well as other

industry literature, the following risks are associated with the use ofBMP-Z/ln.iiise:

A.

B.

C.

\_q
c

922sz

Male sieritity
Cancer
lncreased progression of cancer
Suffocation of the cervical region
Bone fracture
Bowelfbladder problems
Loss of spinal mobility or function
Change in mental status
Darnagc to blood vessels and cardiovascular system compromise
Excessive bone mass blocking the ability to treat pain
Darnage to internal organs and connective tissue

Death

. Respiratory problems

Disassembly and migration of components

Dural tears

 

4 lnstrumented hisions involve hardware and are more stable fusions with a shorter recovery time titan non-
instrumented fosions_

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P. Ectopic and exuberant bone formation

Q. Fetal development complications (birth defects)

?°

Foreign body (allergic) reaction

S. Gastrointestinal complications
Incisional complications
btfection
lnsuftlation complications

. Neurologicai system compromise

Non-union

.“<?<€.<?.C-‘:"l

Delayed union

Z. Mal-union

AA.Change in curvature of spine

BB.Rctrograde ejaculation

CC. Scars

DD. Tissue and nerve damage

EE. Itching

FF. Pain

GG.Hematorna

HH. Anaphylactic reaction

ll. Elevated eryt.hrocyte sedimentation rate
106. Injury Percentages:

j. Ectopic Bone Growth-&B%

k. lnflarnrnatory Neuritis-IS%

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l. Osteolysis/Subsidence-IB%
m. Acute Swelling-?%
n. Retrograde Ejaculation-Z%
o. $5% of time, BMP-Z implanted in oii"-labe] use
107. Not a single one of those risks in the last two paragraphs were ever explained to a
single patient at Childrcn's Hospital by Dr. Durrani.
108. BMP-2 was NOT approved by the FDA for use in the cervical and thoracic spine
and BMP-2 was NOT safe or approved for use in children less than 21 years of age.

Thlse uses are considered “off~label."

“OFF-LABEL” U E
109. A use of a device is considered “off-label" if it is not approved under the Pre-Market
Approval process OR cleared for such use pursuant to 21 U.S.C. § 360c(i) (alsc known
as “the 510]< premarket notification process").
110. Infi.lse can be implanted in an off-label manner in three ways:
p. Approach/position: Any approach other than an anterior approach;
q. Product: Failure to use LT-Cage (or any cage); mixing thN[P-Z with other
grading products like Allograft or Antogran;
r. Discs: Use on multiple levels or on a level outside of L2-Sl.
] ] l. Dr. Durrani and the Hospitals in which he performed surgeries repeatedly used

BMP-Z in these non-FDA-approved manners.

THE NON-COMELIANCE WITH TlE[E REQULATORY PROCESS
112. The PMA 000058 “Conditions of Approval“ specifies the following condition:

“Before making any change affecting the safety or effectiveness of the device, submit

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a PMA supplement for review and approval by the FDA [a] PMA supplement or
alternate submission shall comply with applicable requirements under 21 C.F.R.
Sl4.39[.]”

113_. 21 C.F.R. 814.39 requires a PMA supplement pursuant to subsection (a}(l) for new
indications of use of the device and pursuant to subsection (a)(6) for changes in
components

114. The PMA 000058 “Conditions of Approval" notes the post-marketing reporting
requirement imposed by 21 C.F.R. 814.84, particularly “Identihcation of changes
described in 21 C.F.R. 814.39(a).” Medtronic did not comply with this requirement
relating to the intended uses and componentry.

1 15. The FDA can impose post-approval requirements in the PMA pursuant to 21 C.F.R.
814.82, and this fact results in the device being characterized as “t'estricted" pursuant
to 21 U.S.C. § 360j(e) for purposes ol" 21 U.S.C. § 352(q). Section 352(q) states that
any restricted device that is distributed or offered for sale with false or misleading
advertising is “misbranded."

116. “lndications for use” is a necessary part of the PMA application and the
“lndications for use” are required to be limited by the application Any different use is
inconsistent with the PMA.

ll7. A device that fails to meet the requirements of the PMA or 21 C.F.R. 814 is
“adulterated” as defined by 21 U.S.C. § 351(f).

118. 21 C.F.R. 801.6 defines a misleading statement related to a DIFFERENT device
contained in the label delivered with the device intended to be used will render the

device to be used misbranded

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119. Medtronic did not apply for a PMA supplement as required by the FDA generally
and PMA 00005 8 specifically, for the off-label uses, nor did it provide warnings of the
risks known about the off-label uses. All named Defendants in these cases knew about
the occurrences ofoff-label use.

120. The PMA requires an application prior to marketing for new indicated uses by
incorporating the federal requirements and explicitly reciting the text of 21 C.F.R_

814.39 and 814.84 and by specifically stating the range of indicated uses on the PMA.

V. M`EDTRONIC

 

121. ln or about 2001, Medtronic began preparing for the launch of two spinal fusion
prcducts, PYRAMID and l'NFUSE (BMP-Z), which it projected would enjoy broad
application with spinal surgeons and their patients on a nationwide basis.

122. Medtronic anticipated that both products would initially be limited in application

123. Motivated by greed and a desire to gain competitive advantage in the marketplace
Medtronic began course of conduct designed to broaden the application cf both
products by end-users. The course of conduct involved fraud, false statements, material
misrepresentation, and deceit for the purpose of broadening the sales of these products
beyond that which the usual acceptance within the scientiiic community or regulatory
approval would otherwise allow.

124. On or after July 2, 2002, Medtronic received notification that its Pre-Market
Approval application for its BMP-Z/lnfuse bone graft products had been approved by
the FDA. However, such approval was limited to the application of the device from the
lA through Sl levels. Further, the approval mandated the conduct of post-approval

studies to evaluate the long-term performance of the BMP-Z bone graft and to study

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the potential side effects and complications such as the promotion of tumors by the
bone morphogenetic protein component of BMP-Z. Other studies were conducted as
well. See “Allegations against Medtronic in the Unsealed Mississippi False Clairns
Case.”

125. Medtronic engaged in a fraudulent course of conduct designed to maximize its
revenues from BMP-2, regardless of whether it would eventually be allowed to remain
on the market.

126. One ofthe physicians Medtronic co-opted into its fraudulent scheme was a 'I'hcmas
A. Zdeblick, M.D. Dr. Zdebliclc was an orthopedic surgeon whose invention, the LT-
Cage, was the only approved device to act as the delivery vehicle for BMP-2 into the
body.

127. Dr. Zdeblick enjoyed a position within the scientific community as a Key Opinion
Leader, and he was both a practicing orthopedic surgeon and professor attire University
of Wisconsin.

128- In one of Dr. Zdebliclc’s iirst attempts to tour his LT-Cage and thMP-Z, which
would become the active ingredient in the ultimate Infuse/BMP-Z product, he
encountered some drawbacks to his goal of promoting his and Medtronio's products,
which arose from the policy of certain industry journals, including the joumal Spr'ne,
which followed industry standards before printing peer-reviewed material. See article
in the journal Spiue, published in 2000.

129. Not only were the drawbacks related to industry publishing standards, but the
National Consumer Hcalth information and l-lealth Promotion Act of 1976 enacted

certain provisions at 42 U.s.c. § joou, a saq., whereby the reagan cavemmem had

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entered the tield of medical research publication Such standards promulgated by the
Secretary cf the predecessor to the U.S. Department of Health and Human Services
required that applications for grants and contracts must be subject to “appropriate peer
revicw." See 42 U.S.C. § 300u-l.

130. The drawbacks encountered with the peer-reviewed .Spine article were as follows:

a. Attn`bution that the study was “sponsored by Medtronic Sofamor Danek,
Inc.;”

b. The study was conducted under FDA regal ations, and was “,..designed as
a prospective, multicenter, nonblinded, randomized, and controlled pilot
study;” and

c. lt was accompanied by a cautionary comment, or Point of View, which
minimized the exuberance and import ofthe article

131. ln the aiticle, BMP-Z was touted by Zdeblick and the co-authors as the potential
realization of a dream of Dr. Marshall Urist1 a revered pioneer in the industry and
discover-er of BMP, where it closed with the following: “. ..it is encouraging to note
that Marshall Urist’s seminal observation made more than 34 years ago may finally
come to clinical fi'uition.”

132. In the Point ofView, a Dr. .lohn O’Bricn ofl_.ondon questioned whether there could
be long-tenn problems associated with the product. He treated Zdeblick’s study with
caution and pointed out that simple plaster of Paris has achieved the same or similar
results more than 50 years prior. He posited that, “[p]erhaps vascularization. . .flxation

procedures are as important as the biochemical composition of the ‘tiller.’"

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133. Vascularization is achieved through removal of the disc material between two
vertebral bodies and then the scraping of the surfaces of the vertebral bodies in a fusion
procedure; Exation is the process of securing the motion segment through medical
hardware ln other, if th_e alternative proposed by Dr. O’Brien proved to achieve
equivalent or better results, Zdeblick and Medtronic’s InfuselBMP-Z products would
be useless and unnecessary

134. Certain efforts would follow in an attempt to alleviate the drawbacks encountered
with the 2000 Spine journal article

135. In 2002, Dr. Zdeblick was installed as the sole editor-in-chief of a medical journal
known prior to his installation as the Journal of Spr’nal Disorders. Prior to his
installation, the journal enjoyed a fourteen year history under the co-editorship of Dr.
Dan Spangler and Dr. Tom Ducker. Once installed, Dr. Zdeblick successfully
supplanted Drs. Dan Spengler and Tom Ducker and became the sole editor-in-chief, a
position which would enable him to have greater control and would aid his participation
in the fraudulent scheme

136. During this same time period, Dr. Zdeblick also enjoyed aposition on the associate
editorial board of the medical journal Spine, the leading publication covering all
disciplines relating to the spine.

137. In one of Dr. Zdeblick’s actions as editor-in~chief, he set about re-purposing the
journal in a way that would aid him in the furtherance of the fraudulent scheme through
the streamlining of the publication process.

138. ln furtherance of the fraudulent scheme, Dr. Zdeblick re-purpcsed the journal and

renamed it the Journal of.S'pinal Disorders and Teclmr°que.r (JSDT), announcing that

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the new journal was “entering a new partnership with Spine.” As part of this
partnership, Spine would “continue to function as a broad-based scientific journal”
tailored to both elinicians and scientists However, the Joumal ofsz`na!Disarder-s and
Techniques would be directed solely to physicians in clinical practice.

139. Dr. Zdebliclc’s stated goal was “to provide a forum for up-to-date techniques...”,
and in furtherance of that goal, Dr. Zdeblick announced that his journal would publish
Class II or better clinical articles but would “occasionally accept cutting edge articles
with less than one year follow-up.” To justify this streamlined process, Dr. Zdebliclc
claimed as his goal the ability of his journal “to keep up with the fast pace of progress
in the treatment of spinal patients.”

140. Ann-in-arm with Medtronic and others, Dr. Zdeblick would in short order abuse
his position of trust as the editor-in-chief of.lSDT.

l4l . In the October 2002 edition, JSDT published an article entitled, “Anterior Lumbar
Interbody Fusion using thMP-2 With Tapered Interbody Cages." This article was co-
authored by, among others, Curtis A. Diclunan, M.D., who was a developer of
Medtronic’s PYR.AMID plate and who has been paid significant sums by Medtronic
through royalty agreernents, consulting agreements, and education training and
speaking agreements

142. ln addition to his interest in the PYRAMID plate, Dr. Diclcman had assisted
Medtronic in the approval process for Infuse/BMP-Z. As part of the pre-approval
hearing process, Dr. Dicltman and his Barrow Neurological Associates Group of
Phoenlx, Arizona had submitted a letter to the meeting of the FDA’s Orthopedics and

Rehabilitation Devices Advisory Panel, which met on lanuary 10, 2002. In that letter,

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Dr. Dickman represented that “approval cf BMP would provide a significant advance
for patient outcome and satisfaction following spinal iizsion.”

143. In the October 2002 issue of l SDT routing the benefits of Iniiise/BMP~Z, Zdeblick
and others failed to disclose their financial ties to Medtronic, though industry standards
require such acknowledgement Not only did Dr. Zdeblick fail to disclose that he
proEted from each and every surgery which Iniiise/BMP-2 was used through rights in
the exclusive delivery vehicle, his LT-Cage, but no reference whatsoever to their
iinancial ties to Medtronic was made either by Dr. Zdeblick or Dr. Dickrnan.

144. For years, the recognized gold standard for spinal bone grafts has been the use of
autogenous bone, or bone harvested from the patient’s own iliac crest, or hip bone.
Medtronic designed to have its Infirse/BMP-Z product supplant autogenous bone as the
gold standard in the medical community, and utilized false statements, a fraudulent
enterprise and the support of Federal funds to do so.

145. As part and parcel of Medtronic’s li‘audulent scheme, the October 2002 study was
published in Dr. Zdeblick's journal three months after Medtronic received FDA
approval for lnfuse. As the article shows, it was actually received on March 28, 2002
or after Dr. Zdeblick had accomplished installment as the editor-in-chief, and was
accepted by Dr. Zdeblick's journal i'or publication on July 30, 2002.

l46. At the same time Dr. Zdeblick's journal was publishing the initial article on ]nfusc,
Dr. Zdeblick was already finalizing and preparing for subsequent publication a follow-
up article to tout lnt'use potentially as the new gold standard. A second article, co-

anthored by Dr. Zdeblick and two other tro-authors of the original article, was entitled

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“Is Int`use Bone Gratt Superior to Autograit Bone? An lntegrated Ana]ysis of Clinical
Trials using the LT-Cage Lumbar Tapered Fusion Device.“

147. This second article was published in Vol. 2 of 2003 and once again, there was no
mention of Dr. Zdeblick’s iinancial ties to Medtronic

148. This second article would serve as the second covert advertisement for the Infuse
product, and the article states that “the purpose cf our analysis was to investigate the
potential statistical superiority of Infuse bone grait to autograft. . .”

149. This second article went on to announce the July 2002 FDA approval ofthMP-Z.

150. This article included as an “acknowledgment“ an expression of gratitude to the
physicians “who provided patients for this study and to the clinic research group at
Medtronic Sofamor Danek for their help in data collection and statistical analysu."
However, the article still failed to advise the medical community that some or all of the
authors reaching these conclusions touted as monumental had direct financial interests
tied to those conclusions

151. Rather, the failure to report these clear conflicts of interest on the part of those
holding positions of trust both within the medical community and over patients was
part of Medtronic’s ii‘audulent enterprise However, unchecked by appropriate peer
review, Medtronic was able to systematically accomplish their goals.

152. In its 2003 Annua| Report, and without recognizing that Zdeblick was being paid
by Medtronic, Medtronic cited to Zdeblick’s 2003 as reporting that lnfuse “...may

become the new gold standard in spinal fusion surgery.”

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153. By its 2006 Annual Report, if not earlier, Medtronic had removed all doubt,
declaring that after its introduction in 2002, “lni`use Bone Grait quickly became the
gold standard for certain types of lumbar fusion.”

154. Medtronic’s fraudulent scheme was successful and resulted in a revenue stream
ranging ii'onr 700 to 900 million dollars per year.

155. lt has been reported that around the same time these stories about Iniirse were
published, editors at the Spine Journal began receiving complaints from doctors around
the country who were pointing out contradictions between papers published by doctors
with financial ties to Medtronic and other data involving Infuse complications.’ See
Journal Sentinel article of John Fauber.

156. Through the use of these sham consulting, royalty and educationltraining
agreements with its physician agents in this fraudulent enterprise, Medtronic has reaped
windfalls in the billions of dollars. Medtronic has used this fraudulent enterprise and
civil conspiracth drive its vast profits and enhance its market position beyond that
which it would have realized without engaging willhrlly, knowingly and potentially
deliberate, conscious, or reckless indifference in the fraudulent enterprise and
ii‘auduient concealment See Mississippi case.

157. Defendants had full knowledge of all these facts pertaining to Medtronics.

VI. FDA PUBLIC HEALTH NOTIFICATION

 

158. On July l, 2008 the FDA issued a Public Health Notitication entitled “Life-
Threatening Complications Associated with Recombinant Hurnan Bone

Morphogenetic Protein in Cervica.l Spine Fusion.”

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159. This notification was sent to health care practitioners all across the United States
warning of the complications associated with BlV[P-Z, specifically when used in the
cervical spine.

160. In the notification the FDA stated they received at least 38 reports of complications
during the prior four years with the use ofBMP-2 in cervical spine fusions.

16]. The complications were associated with swelling of the neck and throat areas,
which resulted in compression of the airway and/or neurological structures in the ncck.

162. Sorne reports describe difficulty swallowing, breathing or speaking and severe
dysphagia following cervical spine ii.rsion using BMP-2 products had also been
reported.

163. The notification further stated that, “since the safety and effectiveness of thMP
for treatment of cervical spine conditions has not been demonstrated, and in light of the
serious adverse events described abovel FDA recommends that practitioners either use
approved alternative treatments or consider enrolling as investigators in approved
clinical studies.

164. The Notiiication further emphasized the importance of ii.rlly informing patients of
these potential risks and said that patients treated with BMP-2 in the cervical spine
should know:

s. The signs and symptoms of airway complications including difficulty
breathing or swallowing, or swelling of the neck, tongue, mouth, throat and
shoulders or upper chest area

t. That they need to seek medical attention immediately at the first sign of an

airway complication

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u. That they need to be especially watchful 2-14 days alter the procedure when
airway complications are more likely to occur
v. IhBMP-2 (contajned in lnii.\se Bone Grafi) has received pre-market
approval for iiision of the lumbar spine in skeletally mature patients with
degenerative disc disease at one level from L.‘Z-Sl and for healing of acute,
open tibial shaft fractures stabilized With an IM nail and treated within 14
days of the initial injury
165. Additionally, BMP is not approved .in any manner for use in patients who are
skeletally immature (<18 years of age) or pregnant
166. Dr. Durrani and the Hospitals ignored ALL of these warnings and used BMP-2 in
cervical spine surgeries, children, and those with known compromising factors such as
osteoporosis, smoking, and diabetes
16?. Furthenrrore, the Notification stated that the FDA requires hospitals and other user
facilities to report deaths and serious injuries associated with the use of medical
devices
168. The Hospitals that allowed Dr. Durrani to use BMP-2 in their facilities failed to
report any complications resulting from his use of BMP-2.
Vll. S N ’I` FINANCE CO ITTEE REPORT
169. Medtronic’s actions did not go unnoticed, and in June of 2011 the Senate Finance
Committee began an investigation into the fraudulent actions of Medtronic.
170. Medtronic produced more than 5,000 documents pertaining to 13 different studies

of BMP~Z for the investigation

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171 . On October 25, 2012, Senate Finance Committee Chairrnan Max Baucus (D-Mont.)
and senior member Chuck Grass]ey (R-Iowa) released the results of their 16~month
investigation into Medtronic, which revealed questionable ties between the medical
technology company and the physician consultants tasked with testing and reviewing
Medtronic products

172. The investigation revealed that Medtronic employees collaborated with physician
authors to edit and write segments of published studies on BMP-2/Infuse without
publicly disclosing this collaboration

173. These fraudulently-produced studies may have inaccurater represented BMP-Ts
risks and may have placed added weight on the side effects of alternative treatments

174. The Senate investigation further found that Medtronic also maintained significant,
previously undisclosed financial ties with physicians who authored studies about BMP-
2, making $210 million in payments to physicians over a 15-year period.

175. Senator Baucus stated, “Medtronic’s actions violate the trust patients have in their
medical care. Medical journal articles should convey an accurate picture of the risks
and beneiits of drugs and medical devices, but patients arc at serious risk when
companies distort the facts the way Medtronic has. Pat:ients everywhere will be better
sawed by a more open, honest system without this kind of collusion.”

176. Senator Grassley stated, "l`he findings also should prompt medical journals to take
a very proactive approach to accounting for the content cf the articles along with the
authorship ofthe articles and the studies they feature. Thesc publications are prestigious

and intluemial, and their standing rests on rigorous science and objectivity It’s in the

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interest of these journals to take action, and the public will benefit from more
transparency and accountability on their part."
177. Major findings of the investigation include:

a. Medtronic was involved in drafting, editing, and shaping the content of
medical journal articles authored by its physician consultants who received
significant amounts of money through royalties and consulting fees nom
Medtronic. The company’s role in authoring or substantially editing these
articles was not disclosed in the published articles Medieal journals should
ensure that any industry role in drafting articles or contributions to authors
is fully disclosed

b. Medtronic paid a total of approximately $210 million to physician authors
of Medtronic-sponsored studies from November 1996 through December
2010 for consulting, royalty and other arrangements

c. An e-mail exchange shows that a Medtronic employee recommended
against publishing a complete list of adverse events, or side eH`ects, possibly
associated with BMP-2/Infuse in a 2005 Joumal ofBone and Jaint Surge:j)
article.

d. Medtronic oFlicials inserted language into studies that promoted BMP-2 as
a better technique than an alternative by emphasizing the pain associated
with the alternative.

e. Docurnents indicate that Medtronic prepared one expert's remarks to the

FDA advisory panel meeting prior to BMP-2 being approved At the time,

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the expert was a private physician but was later hired to be a vice president
at Medtronic in 2007.

f. Medtronic documents show the company successfully attempted to adopt
weaker safety rules for a clinical trial studying BMP-2 in the cervical spine
that would have allowed the company to continue the trial in the event that
patients experienced severe swelling in the neck.

VIII. ¥ODA STUDY

178. In response to the various controversies surrounding BMP-Z/Inii.tse, including a
June 201 l article in the journal Spine, the Yale University Open Data Access (YODA)
team reached an agreement for Medtronic to provide iiill individual participant data
from all their trials of thMP-2 and allow unrestricted independent re-analysis of this
data.

179. The YODA study involved research teams at two universities m the University of
York and the Oregon Health and Science University.

180. The review focused exclusively on the use of thM`P-?. in patients undergoing
spinal fusion surgery for treatment cf degenerative disc disease, spondylolisthesis, or
any other relevant Spinal condition

181- The three main objectives of the study were: l) to examine the potential benefits of
BMP-2, 2) to examine the potential harms of BMP-Z, and 3) to assess the reliability of
the published evidence base.

182. Medtronic submitted data from 17 studies, including 12 randomized controlled
trials (RCTs).

183_ In total, the YODA study analyzed the data li'om 1,409 participants

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184. Though the results showed moderate success with fusions as a result ofBMP-Z, the
study found that BMP-2 results in several different complications ineluding: arthritis,
implant-related events, retrograde ejaculation, wound complications, and neurological,
urogenital, and vascular events.

185. In regard to the alleged tampering with the peer-reviewed studies by Medtronic, the
YODA study found that only two out of twenty peer-reviewed journal publications
reported a comprehensive list of all adverse events that occurred during the studics.

186. Furtherrnore, the way in which adverse event data was presented in the literature
was inconsistent, and the rationale for presenting some adverse events but not others
was rarely clear.

187. The study concluded that for the period up to 24 months etter surgery, treatment
with BMP-2 increases the probability of successful tiision (according to Medtronic
detinitions and reports, which the study noted “were subjective so it is not possible to
coniim‘r whether reported successful tirsions truly were successful” see YODA Study,
p. 35) but this does not translate to clinically meaningful benefits in pain reduction,
iimction, or quality of life. The small benefits in these outcomes observed from six
months onward come at the expense of more pain in the immediate post-operative
period and a possible increased risk of cancer.

188. Even more relevant to the case against Dr. Durrani and the Hospitals is the YODA
study’s conclusion that, “[i]t is very important that these findings are expressed clearly
and discussed with patients so that they can make informed choices about the type of

surgery they would prefer.” Id.

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189. The University of Oregon Study determined that lnfuse/BMP-Z is not better than
Autograit, while th_e University of York study determined that Infuser‘BMP-Z oH`ers
only a slight and not statistically si gui:[icant advantage over Autograli.

190. The YODA study concluded that Medtronic “misrepresented the effectiveness and
harms through selective reporting, duplicate publication, and underreporting.”

l9l. Adverse event categories such as heterotopic bone fon'nation, osteolysis, and
radiculitis were not included in participant databases or internal reports; therefore, the
safety profile was not fully assessed

192. The YODA study further concluded that Medtronic was involved in drafting,
editing, and shaping the content of medical jorunal articles on hifuse/BMP-Z authored
by its physician consultants who received significant amounts of money through
royalties and consulting fees from Medtronic. The company’s signiiicant role in
authoring or substantively editing these articles was not disclosed in the published
articles.

193. Medtronic paid a total of approximately $2]0 million to the physician authors of
Medtronic-sponsored studies on Iniirse from November 1996 through 2010 for
consulting, royalty and other arrangements

]94. An email exchange showed that a Medtronic employee recommended against
publishing a complete list of adverse events or side effects possibly associated with
lnfuse in a 2005 Jorrmal ofBone and Jor`nt .S'rrrge)y article

195. Medtronic of§cials inserted language into studies that promoted ]nfuse as a better
technique than an alternative procedure by overemphasizing the pain associated with

the alternative procedure

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l96. Medtronic’s actions violated the trust patients have in their medical care. Medical
journal articles should convey an accurate picture of the risks and beneiits of drugs and
medical devices, but patients are at serious risk when companies distort the facts the
way Medtronic has._See United States Senate Committee on Finance, October 2012.

197. Infuse was intended for a single level anterior lumbar interbody fusion performed
with all three components in a specidc spinal region. The three components are a
tapered metach spinal fusion cage (NOT PLASTIC), a recombinant human (BMP)
bone Morphogenetic Protein, and a carrier/scaffold for the BMP and resulting bone.
The Iniisse product is inserted into the LT-CAGE Lumbar tapered Fusion Device
component to form the complete Iniiise Bone GranLT-Cage I..umbar Tapered Fusion
Device. These components must be used as a system The Infuse Bone Ciratt component
must not be uses without the LT-Cage Lurnbar Tapered Fusion Device component

198. BMP-2 is not supposed to be used in minors_

199. BMP-2 is not supposed to be used with smokers and diabetics because of vascular
slowing.

200. BMP-2 should not be used with women in child bearing years.

201. BMP-2 is contraindicated for patients with a known hypersensitivity to thMP-2
and should not be used in the vicinity of a resected or extant nimor, in patients with
active malignancy, or in patients undergoing treatment for a malignancy.

IX- MLM£

202. Despite all of these warning signs, Dr. Durrani, with the hill knowledge of the
Defendants, continued to use BMP-2 in ways not approved by the FDA, or in an “oft`-

label” manner.

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203. As early as 2007, Dr. Durrani and UC Health knew there were issues with BMP-2
because insurance companies such as Anthem were refusing to pay for BMP-2.
204. Medtronic provided in writing to Dr. Durrani and CAS'I` the approved uses for
Infuse/BMP-2.
205. However, Dr. Durrani and the Defendants condoned to use BMP-2 in off-label
ways, including but not limited to:
a. Using BM]’-2/Infuse in children, despite Medtronic speciEcally requiring it
be used only in “slceletally mature patients;”
b. Using it outside the L2-Sl level of the spine;
c. Ignoring the requirement that BMP~2/lnfuse only he used for Grade l
spondylolisthesis or Grade l retrolisth¢¢is;
d. Not requiring at least six months ofnon-operative treatment prior to the use
of BN[P-Z/lnfuse;
e. Using BMP-Mnfuse without the required eage;
f. Not using the “carrier scaii°oid“ in conjunction with BMP-lllnfuse as
requircd;
g. Using BMP-2/lniiise without proper training despite Medtronic’s warning,
“Caution: Federal (USA) law restricts this device to sale by or on the order
ofa physician with appropriate training or experience."
206. Dr. Durrani was a paid consultant for Medtronic.
207. According to Dr. Durrani’s own deposition testimony in several cases, Medtronic
required one of their representatives to be present in the operating room when its

product BMP-2/lnfuse is used.

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208. Because Medtronic representatives were present in these surgeries, Medtronic
knew when Dr. Durrani used BMP-Z/]niiise outside the approved uses according to
Medtronic’s own guidelines

209. Dr. Durrani was encouraged by Medtronic to obtain peer review and published
studies from Medtronic sales representatives to support his use of Bi\/[P-2/lnfuse.

210. Dr. Durrani was encouraged by Medtronic to he an advocate for his patients and
describe how BMP-2/[nfuse technology can benth them.

211. When asked how he got his Medtronic grant, Dr. Durrani responded, “You apply
to the Medtronic’s corporate and say this is what we want to do, like everybody else in
the country applies, and then they come and evaluate the thing and say, “Okay, we
think it’s worthy. We'll give you the grant."

212. In regard to his role as a Medtronic consultant, Dr. Durrani stated, “If there are
certain products that they help us in developing, then they will come to us for a certain
consultant role for a certain product developmen .”

2]3. Dr. Durrani also stated, “I was involved in the development of the minimally
invasive spine instrumentation§“

214. Dr. Durrani gave conflicting reports on his financial relationship with Medh'onic.

215. in a deposition, when asked when his relationspr with Medtronic began, Dr.
Durrani responded “ZOOO-it's 2003, '04. Something in that category. I’ni not sure. It's
on the Medtronic website. You can go look at it.”

216. Medtronic’s website has no information regarding their relationship with Dr.

Durrani.

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217. In another deposition, Dr. Durrani stated he began his relationship with Medtronic
in “2005 or ’06.”

218. Dr. Durrani also gave contlicting reports on how much compensation he received
from Medtronic for his consultation services

219- ln one deposition, Dr. Durrani stated in response to an inquiry as to how much
payment he received, “It’s a standard compensation Again, it's on the website, how
much they’ve paid us.”

220. Again, this information is not available on the Medtronic website.

22]. ln another deposition, when asked if he received income horn Medtronic, Dr.
Durrani replied, “No, l don’t."

222. When questioned further if he received a fee as a consultant he stated, “If you do
a work, there is a contractual obligation that they have to pay yon. As I told you in my
last deposition, they did declare it on their website, so you can actually go on the
website and see how much they paid.”

223. ln another deposition, Dr. Durrani stated that he received, “less than $10,000 in ten
years” from Medtronic.

224. An entail dated July 30, 2008 ii'orn Medtronic Senior Product Manager Katie
Starnps to Dr. Durrani states that she “is in the process of working on the renewal of
your [Dr. Durrani’s] consulting agreement.“ As stated, this information is not available
on Medtronic’s website, nor is any information relating to Dr. Durrani's role as a

consultant for Medtronic.

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225. A CCHMC packet relating to its Ol't`.hopedics department indicated that Dr. Durrani
received $60,000 in grants, contracts, or industry agreements from Medtronic Sofamor
Danek in FY 2008.

226. Financial information discovered concerning Dr. Durrani’s relationship with
Medtronic was found in Dr. Durrani's biography on the website for the Orthopaedic &
Spine lnstitute, which Dr. Durrani currently operates in Pakistan. The biography states
that “Dr. Atiq Dr. Durrani has also received the Clinical Spine Fellowship Grant by the
Department of Orthopaedic Surgery which was funded by Medtronic Sofarnor Danek
with a budget of 359,1`70 per year." See http:/lwww.gsi.com.pk}doctor}dr-atig-Dr.
Durrani-mdl.

227. When a request was made to Medtronic regarding its affiliation with Dr. Durrani,
the Medtronic Supplier Relations Team stated that Dr. Durrani’s “nanie [is] not listed
in our system."

228. Medtronic further responded to the Deters Law Firm’s request that the firm would
need a “Vendor I.D. Nurnber," which neither Medtronic nor any other party has
provided

229. David Rattigan, was Dr. Durrani’s main Medtronic representative from Bahler
Medical.

230. David Rattigan and Medtronic have the same lawyer. Despite the Deters Law
Firm’s willingness to cooperate in scheduling the date for a deposition, they have
refused until recently. Mr. Rattigan’s deposition was taken June 5, 2015.

23 l . ln summary, clients of the Deters Law Firrn, with the hill knowledge and intentional

consent of all Defendants, became unsuspecting experiments for real world testing of

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Medtronic hardware and BMP-2, by and through Dr. Durrani and CAST, who had
secret financial connections to Medtronic, improper motives, and submitted false
ciairns. The government paid for many of these improper and unregulated experiments
as a result of the false claims made by Dr. Durrani, with the knowledge ofMedtronic,
under the veil of “medically necessary" surgeries.
232. Despite repeated requests, Medtronic has refused to cooperate in providing any
requested information and is actively downplaying their connections to Dr. Durrani.
X. TIIE DEFENDANIS gp BMP-2
233. The purpose of the background information on the following Defendants and BMP-
2 concerning other hospitals is to show the egregious methods, which upon information
and belief were used at all hospitals
234. The Defendants allowed and encouraged these practices by Dr. Durrani for the sole
purpose of money and greed.
235. David Rattigan was always present in Dr. Durrani’s operating rooms as a
representative of Medtronic.
236. David Rattigan’s sole job was to deliver the BMP-2/lnfuse to the Hospitals and
make sm'e that it was inserted correctly into the patient
237. David Rattigan’s presence in the Olt tin-ther supports the Defendants awareness of
Dr. Durrani ’s ti‘audulent use of BMP-ZIIntiise.
23 8. Informed Consent for Surgical or Medical Procedure and Sedation:
lt is the responsiny of the attending physician to obtain informed consent prior to
the procedure The patient, or his/her representative, wilch advised by his/her
physician of:

a. The explanation of the procedure

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b. The benefits of the procedure
c. The potential problems that might occur during recuperation

d. The risks and side effects of the procedure which could include but are not
limited to severe blood loss, infection, stroke or death.

e. The beneEts, risks and side effect of alternative procedures including the
consequences of declining this procedure or any alternative procedures

f. The likelihood of achieving satisfactory results
Completion of the “Consent to Hospital and Medical Treatment" form to examine
and treat is NOT sufficient as consent to perform a surgical procedure, invasive
procedure, or for medical regirnens of substantial risk or that are the subject of
human investigation or research

239. The Defendants had the responsibility to carry out these consent rules.

240. Dr. Dtn'rani oftentimes used BMP-2 “ol’f`-labe ” when performing surgeries.

241. BMP-2 is manufactured, marketed, sold and distributed by Defenth Medtronic
under the trade name “Infuse.”

242. Dr. Durrani is a consultant for Medtronic.

243. Defendants did not inform Plaintiffs of Durrani's inancial interest, conilicts of
interest or consulting arrangement with Medtronic.

244. ' Medtronic, provided in writinth Dr. Durrani the approved uses for BMP-Z, the
substance also referred to as lnfuse, which is a bone morphogenie protein, used as an
artificial substitute for bone grafting in spine surgeries.

245. BMP-2 is not approved by the Food and Drug Adrninistration for use in the
cervical and thoracic spine.

246. BMP-2 is neither safe nor approved for use on children less than twenty one (21)

years of age.

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247. For use in spinal surgery, BMP-2/Infuse is approved by the FDA for a limited
prooedure, performed on a limited area of the spine, using specific components
Specitically, the FDA approved lnfuse for one procedure of the spine: Anterior
Lumbar Interbody Fusion (“ALIF" or "Anterior" approach); and only in one area of
the spine: L4 to St; and only when used in conjunction with FDA-Approved
Components: LT-CAGE Lumbar Tapered Fusion Device Component (“LT-CAGE.”)

248. Use of lntilse in cervical or thoracic surgery, or use through the back (posterior),
or side (lateral), or on areas of the spine outside of the L4-Sl region (e.g., the cervical
spine), or using components other than or in addition to the LT-CAGE is not
approved by the FDA, and thus such procedures and/or use ofnon-FDA approved
componentry is termed “oft`-Iahe .”

249. When used off-label, Infuse frequently causes excessive or uncontrolled (also
referred to as “ectopic" or “exuberant”) bone growth on or around the spinal cord.
When nerves are compressed by such excessive bone growth, a patient can
experience, among other adverse events, intractable pain, paralysis, spasms, and
cramps in limbs.

250. The product packaging for BMP-ZIInfuse indicates it causes an increased risk of
cancer four (4) times greater than other bone graft alternatives

251. _ Dr. Durrani and Children's Hospital personnel did not disclose to Plaintifi`s their
intent to use BMP-Z/lniirse, and further, did not disclose their intent to use BMP-
lenfuse in a way not approved by the FDA.

252. Dr. Durrani used BMP-2 in Plaintiff in a manner not approved by Medtronic or

the FDA.

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253. Defendants did not inform Plaintiffs that Dr. Durrani used Infuse/BMP-Z in his
surgeries.

254. Plaintiffs would not have allowed BMP-2 to be used by Dr. Durrani in his surgery
in a marmer that was not approved by the FDA or Medtronic, lnfnsefBMP-Z’s
manufactrn'er.

255. Plaintiffs would not have consented to the use of BMP-2 in Plaintiff’s body if
informed of the risks by Dr. Durrani or any Children‘s Hospital personnel.

256. The written informed consent of Dr. Durrani signed by Plaintiffs lacked the
disclosure of Iniirse/BMP-Ts use in his procedures

257. Plaintift`s never received a verbal disclosure oflni"use/BMP-Z from Dr. Durrani or
any Children’s Hospital personnel.

258. Medtronic speciEcally required Infuse/BMP-Z only be used in "skeietally mature
patien " with degenerative disc diseasel

259. Medtronic required at least six (6) months ofnon-operative treatment prior to use
of Infuse/BMP-Z.

260. Dr. Durrani regularly used Iniirse/BMI’-Z without this six {6) month non-
operative treatment

261. Medtronic required BMP-2 always be used in conjunction with a metal LT cage.

262. Dr. Durrani regularly used BMP-2 without a proper LT cage in his surgeries.

M
263. Dr. Durrani oftentimes used BMP-2 “off-label” when performing surgeries.
264. BMP-2 is manufactured, marketed, sold and distributed by Defendant Medtronic

under the trade name “lnfuse.“

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265. Dr. Durrani is a consultant for Medtronic.

266. Defendants did not inform Plaintiff of Durrani's financial interest, conflicts of

interest or consulting arrangement with Medtronic
267. Medtronic, provided in writing to Dr. Durrani and CA.ST the approved uses for
BMP-Z, the substance also referred to as Infusc, which is a bone morphogenic protein,
used as an artiHcial substitute for bone grading in spine surgeries
268. BMP-2 is not approved by the Food and Drug Administration for use in the
cervical and thoracic spine.
269. BMP-2 is neither safe nor approved for use on children less than twenty one (21)
years of age.
270. For use in spinal surgery, BN[P-Zflnfuse is approved by the FDA for a limited
procedure, performed on a limited area ofthe spine, using specific components
Specifrcally, the FDA approved lnfuse for one procedure of the spine: Anterior Lumbar
loterbody Fusion (“ALIF” or "Anterior" approach); and only in one area of the spine: L4
to S I; and only when used in conjunction with FDA-Approved Components: LT-CAGE
Lumbar Tapered Fusion Device Component ("LT-CAGE")
271. Use of lnfuse in cervical cr thoracic aurgery, or use through the back (posterior),
or side (lateral), or on areas ofthe spine outside of the L4-S] region (e.g., the cervical
spine), or using components other than or in addition to the LT-CAGE is not approved
by the FDA, and thus such procedures and/or use of non-FDA approved componentry is
termed “oif-label.“
272. When used off-label, Infuse frequently causes excessive or uncontrolled (also

referred to as “ectopic” or "exuberant”) bone growth on or around the spinal cord. When

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nerves are compressed by such excessive bone growth, a patient can experience among
other adverse events, intractable pain, paralysis, spasms, and cramps in limbs.

273. The product packaging for BMP-2/Inii.rse indicates it causes an increased risk of
cancer four (4) times greater than other bone graft altematives,

274. Dr. Durrani, CAST staff and employees, and Journey Lite personnel did not
disclose to Plaintifi` their intent to use BMP-Mnfuse, and further, did not disclose their
intent to usc BMP-2/lnque in a way not approved by the FDA.

275. Dr. Durrani used BMP-2 in Plaint:iff in a manner not approved by Medtronic cr
the FDA.

276. Plaintiti` was not informed by Defendants that Dr. Durrani used Iniirse/BMP-Z in
her surgery.

277. Plaintiif would not have allowed BMP-2 to be used by Dr. Durrani in her surgery
in a manner that was not approved by the FDA or Medtronic, InfasefBMP-Ts
manufacturer.

278. Plaintiff would not have consented to the use ofBMP-2 in her body if informed of
the risks by Dr. Durrani, CAST staff and employees, or any Journey Lite personnel.
279. The written informed consent of Dr. Durrani and CAST signed by Plaintiff lacked
the disclosure of InfuselBM.P-E‘s use in her procedures

280. Plaintiff never received a verbal disclosure of Infuse/BMP-2 from Dr. Durrani,
CAST staff and employees or any Joumey Lite personnel.

281. Medtronic specifically required Infl.rse/BMP-Z only be used in "skeletally mature

patients" with degenerative disc disease

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282. Medtronic required at least six (6) months of non-operative treatment prior to use

of Infuse/BMP-Z.

283. Dr. Durrani regularly used lnfuse/BMP-Z without this six (6) month ncn-

operative treatment

284. Medtronic required BMP-2 always be used in conjunction with a metal LT cage

285. Dr. Durrani regularly used BMP-2 without a proper LT cage in his surgeriesl

PUREGEN
PUREGEN BACKGROUND
286. PureGen Osteoprogenitor Cell Allo`grafi (PureGen) is a highly concentrated, pure
population of Early Lineage Adult (ELA) stern cells that originates in bone marrow and is
collected ii'om livc, healthy donors
287. PureGen is harvested from living human beings under the Stem Cell Collection
Program administered by the Food and Drug Adrninisu'ation (FDA) and is defined
as both a “biologic" by 42 U.S.C. 351(i) and a “drug” as defined by U.S.C.
321(g).

288. PureGen’s purpose was to facilitate bone fusion by mirnicking the regenerative
environment of youthiirl tissues by increasing the concentration of stern cells
available to repair tissue and build bone

289. Wben used off-label, as Dr. Durrani often did, biologic bone allograft frequently
causes excessive or uncontrolled (also referred to as “ectopic" or “exuberant")

bone growth on or around the spinal cord.

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290. When nerves are compressed by such excessive bone growth, a patient can
experience among other adverse events, intractable pain, paralysis, spasms, and
cramps in limbs.

291 . Alphatec Sp_ine, lnc. is a corporation under the laws of Califomia, and
jointly developed and distributed PureGen in the State of Ohio.

292. Alphatec Holdings, lnc. is a holding corporation formed under the laws of
Delaware with no operations separate from the holding of other companies which
owns Alphatec Spine, Inc.

293. Dirlc Kuyper was President and CEO of Alphatec Holdings, lnc. from
February 2007 to August 2012.

294. Parcell Laboratories, LLC is organized under the laws of Delaware and
jointly developed Puregen.

295. Alphatec and Parcell co-developed the product “PureGen”, and both

expected PureGen would be initially limited in application

296. PureGen is produced and distributed by Alphatec Spine, LLC, a division
of Alphatec Holdings.
297 . PureGen was entered into 3 clinical trials by Alphatec on or around

February 9, 201 1 which were scheduled to last until September of 201 3.

293. The study population were 50 male/female subjects 18 years and older
suffering from symptoms of cervical degenerative disc disease in one to four
contiguous levels between 03 and Tl .

299. The clinical trial required:

a. Inclusion

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i.

ii.

iii.

iv.

V.

vi.

Age over 50

Side-by-side use ofPuregen and Autologous bone in the same
patient for radiographic comparison

Synnptomatic lumbar degenerative disc disease in up to 2
contiguous levels between Ll and Sl

Subjects with back and/or leg paint indicated for posterior
stabilization with or without decompression at any level and
posteriolateral fusion

Unresponsive to conservative treatment for at least 6 months

Radiographic evidence of primary diagnosis

b. Exclusion:

vii. No healthy volunteers permitted

viii.
ix.
x.

xi.

xii.

xiii.

xiv.

More than two levels requiring posteriolateral fusion (PLF)
Spondyliosis greater than Grade 1

Prior failed fusion surgery at lumbar level(s)

Systemic or local infection in the disc or cervical spine, past or
present

Aotive systemic disease

Osteoporosis, Osteomalacia, or other metabolic bone disease that
would significantly inhibit bone healing

Use of other bone graft, Bone Morphogenic Protein (BMP), or
bone graft substitutes in addition to or in place of those products

specified

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xv. BMI greater than 40
xvi. Use of post-operative spinal cord stimulator
xvii. Known or suspected history of alcohol and/or drug abuse
xviii. Involved in pending litigation or worker's compensation related to
the spine
xix. Pregnant or planning to become pregnant during the course of the
study
xx. lnsulin-dependent diabetes mellitus
xxi. Life expectancy less than duration of study
xxii. Any signiiicant psychological disturbance that could impair
consent process or ability to complete self-assessment
questionnaires
xxiii. Undergoing chemotherapy or radiation n'eatment, or chrome use of
oral or injected steroids or prolonged use ofnon-steroidal anti-
inrlammatory drugs

xxiv. Known history of hypersensitivity or anaphylactic reaction to

dimenthyl sul foxide (DMSO).
300. All 3 clinical trials were “Terminated” before any results were produced
301 . Alphatec and Parcell saw this limited approval for clinical trials as an

opportunity to market PureGen without premarlcet approval, 51 DK clearance, an
exception to the Food Drug and Cosrnetic Act, meeting the humanitarian device
exception, investigational new drug (IND) application, or other permission to

market Purchn, all in violation of the Food Drug and Cosmetic Act.

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302. Alphatcc and Parcell began a course of conduct designed to expand the
application ofPureGen by end users in excess of the approved clinical trial of
PureGen. This course of conduct utilized li'aud, false statements, material
misrepresentation, and deceit in order to broaden the sales ofPureGen beyond
that which the usual acceptance within the scientific community or regulatory
approval would otherwise allow.

303. 'Ihe Food and Drug Administration (FDA) conducted an inspection of
Parcell Laboratories betwe- February 9-14, 2011.

304. Aiter the inspection, the FDA responded quickly to the unlicensed
marketing of the device PureGen by warning that PureGen was not the subject of
an IND application nor a valid biologics license with a letter dated June 23, 201 l.

305. The letter stated that the cells used in the production of PureGen were
human cells, tissues, or cellular and tissue-based products (HCT/Ps) as defined in
21 CFR 1271.3(d).

306. Based on this analysis, the FDA determined that PureGen was a drug and
biological product as defined in the Federal Food, Drug and Cosmetic Act.

307. According to the Public Health Service Act, a valid biologics license is
also required to introduce a biologics device to the market

308. Alphatec Spine did not acquire a valid biologics license to enter a
biologics product into interstate commerce, in violation of 21 U.S.C. 355(a); 42
U.S.C. 262(a).

309. The FDA stated that PureGen, “does not meet all of the criteria in 21 CFR

1271 .l O(a) and therefore is not regulated solely under section 361 of the Public

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Health Service Act and the regulations in 21 CFR Part 1271. Speciiically, the
product does not meet the criterion in 21 CFR 1271 .10(a)(4)(ii)(b) because the
product is dependent on the metabolic activity of living cells for its primary
function.”

31 O. As a result, a valid biologics license was required, which was never
obtained by Alphatcc or Parcell labs in regards to PureGen. Defendants knew all
this.

311. Given this lack of a valid biologics license, the FDA determined that the
marketing of PureGen violated both the Federal Food, Drug and Cosmetic Act
and the Public Health Service Act.

312. In a statement to the press approximately a week alter receiving the FDA
Letter, Alphatec President Dirk Kuyper stated, “Both Alphatec Spine and Parcel]
Laboratories are fully committed to work closely and collaboratively with the
FDA to address the questions related to the PureGen Product. We look forward to
discussing the PureGen product with the FDA and sharing our clinical outcomes
to date." See article “Alphatec comments on FDA’s letter regarding PureGen
product for spinal tireion procedures”, Spinal Ncws Intemational, July 28, 2011,
attached as Exhibit E.

313. No such cooperation by Alphatec and Parcell labs occurred and no clinical
outcomes were shared with the FDA as all clinical trials of PureGen were
"Terminated” and no data was released as to the iindings.

314. ln fact, Alphatec and Parcell responded to this letter by continuing to

market PureGen in an unlicensed manner until Alphatec linally acknowledged the

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letter in or around February 2013, almost two years after receiving the letter, by
stating it disagrees with the FDA’s classification of PureGen as anything other
than a tissue product - despite the clinical trial approval listing PureGen as
“Biological: PureGen Osteoprogenitor Cell Allograft”.

315. Furthermore, according to sales repres.tative, Thornas Blanlc, Alphatec
falsely informed distributors of PureGen that they “resolved” the issues addressed
in the FDA letter, did not have to take PureGen off the market and it was “ok” for
their distributors to continue marketing and selling PureGen.

316. Despite the approval for the clinical trial of PureGen which limited
enrollment to 50 patients, Alphatec advertised in its 2012 Annual R.cport that
PurcGen had been implanted in over 3,500 patients.

317. PureGen iiirther stated that it had been placed in these 3,500 patients with
“no adverse events related to the produc ”, despite no study, statistics or
information to back up such a claim.

318. This 2012 annual report also identified PureGen as a biologic.

319. In the First Quarter of2011, Alphatec Spine attributed part of its 40.9%
increase inrevenue to the PureGen product, See Becker’s Spine Review, mag§
Spine R_ep_orts $49.7M in 91 Revenue, 40.9% Increase, May 5, 2011, attached as
exhibit H.

320. Eventually, after PureGen had been unlawfully implanted in thousands of
patients, Alphatec and Pa.rcell conceded that PureGen is a tissue product and a

biologic and stopped shipping PureGen in February of2013.

P REGEN AND OHIO LAW

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321, It is the position cf the Deters Law Finn that the distribution and use of
PureGen by Dr. Durrani, Evolution Medical, Alphatec Spine, Inc., and upon
Inforrnation and Belief.loumey Lite is in violation not only ofPederal Law as
outlined in the FDA’_s letter, but Ohio State Law as well.

322. Dhio Revised Code 3715.65(A) states that “No person shall sell, deliver,
offer for sale, hold for sale, or give away any new drug unless an application with
respect to the drug has become effective under section 505 of the Federal Food,
Drug and Cosmetic Act, 52 Stat. 1040 (1938), 21 U.S.C.A. 301”. Defendants
violated this provision.

323. A “'New Drug” is defined as “Any drug the composition of which is not
generally recognized among experts by scientific training and experience to
evaluate the safety of drugs, as safe for use under the conditions prescribed,
reeonunended, or suggested in the labeling thereof.” Ohio Revised Code
371 5.01 (9)(a).

324. PureGen’s status as a Biologic further supports the classification cfa drug
under the FDA and Ohio Law: “A "biological product" means a virus, therapeutic
serum, toxin, antitoxin, vaccine, blood, blood component or derivativc, allergenic
product, or analogous product, or arsphenamine or derivative of arsphenamine (or
any other trivalent organic arsenic compound), applicable to the prevention,
treatment, or cure cfa disease or condition of human beings (Public Health
Service Act Sec. 351 (i)). Additicnal interpretation of the statutory language is
found in M. Biological products also meet the definition of either a

drug or device under §gctigns 201(g) and (h) of the Federal Food, Drug, and

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Cosmetic Act (PD&C Act)." See
htlp:l/www.fda.gov/ICECI/lrtspcctions/IOI\d/ucm122535.htm.
325. l lt is the position of the Deters Law Finn that PureGen is a drug as defined
in ORC 3715.01 and that its distribution before FDA approval was in violation of
ORC 3715.65(A). The Defendants with full knowledge and intent violated this
Statllte.
Pg M§§N AT THE HOSPITALS
326. Upon information and believe it is believed that Dr. Durrani used Puregen at
Iourney Lite in the same manner that PureGen was used at WCH.
327. Upon information and believe it is believed that Dr. Dtnrani was taking Puregen
from WCI-l and using it at Joumey Lite.
328. Plaintiff’s have repeatedly requested itemized billing to confirm its use but have
not received from Defendants
329. On October 10, 201 1, UC Health began purchasing PureGen ii‘om Alphatec.
Thomas Blanlc was an employee of Innovative Medical Consultants, LLC and a sales
representative, seller, marketer, and distributer of PureGen for the Northern
Kentuclcy/Cincinnati area.
330. ln his professional capaci ty, Thomas Blank was present during most, if not all, of
the surgeries at issue where PureGen was secretly implanted into various Plaintiffs
without informed consent or permission
331. Thomas Blank worked directly with Alphatec Spine, lnc. and Defendants in the
marketing and distribution of PureGen.

332. Additionally, Thomas Blank is a shareholder in Alphatec Spine, Inc.

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333. On May 10, 2012 E,volution Medical, LLC, a physician owned distributorship
(POD), owned in part (at least 40%) by Dr. Durrani and incorporated in Delaware,
received a Kentucky Certiiicate of Authority.
334 Around this timel Thomas Blank began to work with Evolution Medica_l in the
marketing and distribution of PureGen, in addition to his dealing with Alphatec Spine,
Inc.
335. On July 20, 2012, UC Health with the full knowledge and consent of Defendants
began purchasing PureGen h'om Evolution Medioal, LLC.
336. The purchase of PureGen, the logistics of the billingl the bills of lading, the
receiving and handling of PureGen for West Chester Hospital was handled by UC Health
Purchasing
337. The Defendants tracked West ChesterfUC Healtl'l's purchases ofPureGen from
Evolution medical.
338. Specifioally, Thornas Blanlr would provide the materials ii‘om Alphatec related to
the use and approval ofPureGen to Dwayne Brown on behalf of UC Health, who would
request PureGen based on the amounts requested by Dr. Durrani and other doctors who
used the product
339. Aner the UC Health reps approved the use ofPureGen, Thomas Blank and his
associate Toby Wil¢._‘.ox would order the product, typically in bulk, and draft the requisite
billing documents.
340. The PureGen ordered would be stored on site at WCI-l in the freezer of the

operating rooms.

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341 . ln addition to Dr. Durrani, other doctors at WCH used PureGen, including Dr.
Chunduri, Dr. Curt and Dr. Shanti.

342. Defendants would purchase and allow these doctors to use a substance not
approved by the FDA in patients without their informed consent.

343. Though WCH and UC Health do have patients till out “int`onned consent" fonns,

no mention ofPureGen or its non-FDA approved status is mentioned on these forms.

DR. DURR.AN] AND PUREGEN

344. ln one of the few depositions taken cf Dr. Durrani before his flight ii'oni the
country he stated that PureGen is “essentially stem cells“ and that he “used to use
[PureGen] for a certain amount of time.” Deposition of Dr. Durrani in Brenda She!l v.
Durran¢', p. 25-26, attached as Exhibit N.

345. 'I'l'.\is “certain amount oftiine” was approximately 3 years between 2010 and 20]3,
all while PureGen remained unapproved by the FDA.

346. 'I'hough downplaying his involvement with PureGen, Dr. Durrani, through his
illegal POD Evolution Medica], distributed PureGen to West Chester/UC Health with the
tull knowledge and consent ofDefendants.

347. Dr. Durrani and his Evolution Medical co-owner Toby Wilcox and Defendants,
knew the Department ot` Health and Human Services and the United States Senate
Finance Committee has released reports on dangers of Physician-owned entities, notably
Physician-owned Distributorships (POD's).

348. - Dr. Durrani and Toby Wilcox’s actions through Evolution Medical violated the

Anti-K.ickback Statute 42 U.S.C. 1320 and Stark Law 42 U.S.C. ]395.

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349. Compliance with the Anti-Kiclcback Statutes is a condition of receiving payment
from a Federally-funded healthcare program, and most private insurers have a parallel
conditional requirement
350. The Anti-Kickback Statute prohibits the payment and receipt of kickbacks in
return for either procuring or recommending the procurement of a good, facility, or item
to be paid in whole or in part by a federal healthcare program. 42 U.S.C. l320a-7b(b).
351. In violation of 45 C.F.R. 46, and in furtherance of the scheme to feign avoidance
of the ann-kickback statutn, Dr. Durrani, CAST, Alphatec and the Defendants
experimented on patients by using PureGen in unapproved manners, without the
informed consent of the patients, and subsequently billing their health insurance
companies all while concealing the true nature of their actions
352. Dr. Durrani also had connections with Alphatec as his personal calendar indicates
meetings with Dirk Kuyper, President and CEO of Alphatec in 2008.
353. Dr. Durrani experimentally used Puregen bone graft in twenty cervical surgeries,
along with as many as 72 thoracic, cervical, and lumbar surgeries, ignoring the limited
uses it was approved for in the clinical uials.
354. Dr. Durrani, through his POD Evolution Medica]l was essentially “double
dipping” in his dealings with PureGen.
355. Dr. Durrani would sell WCH and the other hospitals the PureGen through
Evolution Medica] and then use and bill for the PureGen in his surgeries
356. Dr. Durrani and Defendants knew such an arrangement was either unethical and
illegal (though still not disclosing the use of PureGen) by having the patients sign an

Acknow]edgement of Potential Contlict of ]nterest form.

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357. WCH and Defendant also beneiited from this arrangement by up charging
patients for the PureGen after purchasing it from E.volution Medical and Dr. Durrani.
358. At all times relevant Dr. Durrani and Defendants was in exclusive control of the
amount and ratio ofPuregen bone grait that was experimentally implanted into patients
359. PureGen was and remains unapproved by the FDA for use in humans without an
lnvestigation `New Drug ("ll~lD") or experimental informed consent of the patient
360. Dr. Durrani and Defendants did not receive experimental informed consent from
patients, nor did he verify that an ]ND was obtained.
361 . The basic "lnformed Consent Forms” Dr. Durrani and CAST did have patients fill
out made no mention of PureGen or the fact a non-FDA approved product was being
implanted in their body.
362. In fact, Dr. Durrani and Defendants would even conceal the use ofPureGen by
intentionally withholding it from the billing records, noting on one Pre-Op Code sheet
“Do Not Bill” twice in regards to FurcGen.
363. lmplanting Puregen in any part of the spinal canal without FDA clearance, proper
tiials, and patient consent is reckless battery and violates the Hippocratic Oath’s
statement “I will prescribe regirnens for the good of my patients according to my ability
and my judgment and never do harm to anyone.” lt is criminal
PUREGEN AND OUR CLEHTS
364. What follows are just a few examples of the damage caused Dr. Durrani and the
Defendants deceptive and fraudulent use of PureGen in Deters Law Oflice clients without

their consent

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365. A majority of these surgeries occurred AF]`ER the FDA inspection and
subsequent warning on the non-FDA approved status of PureGen

366. Foilowing the cervical surgeries in which Puregen was implanted, the patients’
pain became far worse and more extreme

367. The patients attest to difficulty with swallowing untbickened quuid, medications
in pill form, routine saliva, and food.

368. Many patients describe a choking sensation felt on a daily basis when swallowing
and changes to the tone and audibility of their voice, along with a chronic cough.

369. Following the thoracic and lumbar surgeries, patients attest to increased spinal
pain, diHiculty with ambulation, numbness and tingling in lower exn‘emities, decreased
tlexibility.

370. Below are some of the clients experiences since having the Puregen implanted:
371 . “l have severe low back pain, stifliiess, decreased range of motion and tenderness.
Pain radiating to left posterior thigh and cightfleit lumbar area. Onset months ago after
surgery." - William Hayes

372. “Constant, itritating pain, less intense but still present Even alter two surgeries, l
condone to have limited use of my lett leg. The pain is ever-present l am easily fatigued
and have severe pain after brief tasks such as cooking dinner, preaching a sermon, even
melting a bed. Bending over is so painful and produces such instability that my family
helps put on my socks and shoes. l require a cane for ambulation, due to left leg
weakness and limited range of motion." - Darrell Earls

373. “Severe spin in my neck, arm, Shoulder blades. Pressure on my throat making it

unbearable to swallow meds and food. Loss of range of motion in my neck and stifmess

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in back. The pain is so severe that I can no longer sleep laying down. I have to sleep
sitting up. The pain in my neck is unbearable most days. The pain runs between my
shoulder blades into my chest and in my throat and side of my neck.” - Duane Pelfrey
374. “I feel 1 have lost a lot of the flexibility in my neck and back. 1 have lower back
pain, tightness in neck and shoulders, and have a hard time lining/standing for long
periods of time. When I bend over, l have a hard time straightening back up to an
upright position." - Dana Conley
375. “Low back pain radiating into bilateral hips, buttocks, legs and feet. Bilateral leg
weakness Numbness in left foot and toes. Bilateral buttock and posterior thigh muscle
spasms. Burning sensation in right abdomen that radiates around to back My post-
surgery MRI and CT scan showed bony overgrowth into the foremen and into the canal
on left at LS-Sl.” - Julie Martin
376. “I experience pounding headaches that are far worse than anything prior to
surgery. Left leg is numb, paian and swollen, muscle spasms occurring in hip and
bilateral legs since surgeries with Dr. Durrani. My whole back, neck and leg hurt so bad
I could throw up.“ - Tonia McQueary
377. “I have much more pain. Constant right-sided headache, intensity varies but
always present The back of my neck swells. My esophagus feels like it is in a diHerent
place. My throat swells.“ - Kelly Hennessey
378. As stated, there are just a few examples of clients that have been discovered to
have had non-FDA approved PureGen implanted into their bodies without their

informed consent, in violation of both Federal and State Law, all with the knowledge of

Defendants

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379. Dr. Durrani oftentimes used Puregen when performing surgeries

380. Puregen is a product produced by Alphatec Spine.

381. Dr. Durrani was and is a paid consultant for Alphatec Spine.

382. Dr. Durrani has an ownership stake in the Alphatec Spine.

383. Puregen has never been approved by the FDA for any human use.

384. Puregen is now removed nom the market for any use.

385. Dr. Durrani used the product Puregen as bone graft substitute similar to
1ntiJse/BMP-2 during spinal surgeries

386. Dr. Durrani, CAST staff and employees, Riverview Health lnstitute personnel,
and Journey Lite personnel did not disclose their intent to use Puregen, nor did they
inform Plaintiff.` that it was a product that was not approved by the FDA for human use.
387. Dr. Durrani used Puregen in Plaintiff in manners not approved by the FDA.
388. Plaintiff were not informed by Dr. Durrani, CAST staff and employees
Riverview Health lnstitute personnel, or any loumey Lite personnel that Dr. Durrani
used Puregen in Tracy’s surgeries

389. Plaintiff would not have allowed Puregen to be used by Dr. Dun'ani in Tracy’s
surgeries in a manner that was not approved by the FDA.

390. Plaintift' would not have consented to the use of Puregen in Tracy’s body if
informed of the risks by Dr. Durrani, CAST stafl’, and employees, R.iverview Health
lnstitute personnel, or any loumey Lite personnel.

391. The written informed consent of Dr. Durrani and CAST signed by Tracy

Esselman lacked the disclosure of Puregen’s use in her procedures

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392. Plainti ff never received a verbal disclosure of Puregen from Dr. Durrani, CAST
staff, and employees, Riverview Health lnstitute personnel, or any Joumey Lite
personnel.
PUREGE§
393. Dr. Durrani oftentimes used Puregen when performing surgeries
394. Puregen is a product produced by Alphatec Spine.
395. Dr. Durrani was and is a paid consultant for Alphatec Spine.
396. Dr. Durrani has an ownership stake in the Alphatec Spine.
397. Puregen has never been approved by the FDA for any human use.
398. Puregen is now removed from the market for any use.
399. Dr. Durrani used the product Puregen as bone graft substitute similar to
Int`use/BMP-Z during spinal surgeries
400. Dr. Durrani, CAST staff and employeesl and J carney Lite personnel did not
disclose their intent to use Puregen, nor did they inform Plaintiif that it was a product that
was not approved by the FDA for human use.
401. Dr. Durrani used Puregen in Plaintiff' in manners not approved by the FDA.
402. Plaintift` was not informed by Dr. Durrani, CAST staff and employees, or any
Joumey Lite personnel that Dr. Durrani used Puregen in her surgery.
403. PlaintiH` would not have allowed Puregen to be used by Dr. Durrani in her Surgery
in a manner that was not approved by the FDA.
404. Plaintift` would not have consented to the use of Puregen in her body if informed

of the risks by Dr. Durrani, CAST staff and employees or any lourney Lite personnel.

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405. The written informed consent of Dr. Durrani and CAST signed by Plaintifl` lacked
the disclosure of Puregen’s use in her procedures

406. Plaintift` never received a verbal disclosure of Puregen from Dr. Durrani, CAST
statf and employees, or any Joumey Lite personnel.

DR. DURRANI CO`[J'NTS:

 

COUNT l: NEGLIGENCE
407. Defenden¢ Dr§ Durrani owed his parent Pleimnr, are duty re exercise me
degree ofslcill, care, and diligence an ordinarily prudent health care provider would have
exercised under like or similar circumstances
408. Defenth Dr. Dun'ani breached his duty by failing to exercise the requisite degree
ofskil], care and diligence that an ordinarily prudent health care provider would have
exercised under same or similar circtunstances through, among other things, negligent
diagnosis, medical mismanagement and mistreatment of Plaintiff, including but not
limited to improper selection for surgery, improper performance ot` the surgery, and
improper follow-up care addressing a patient’s concems.
409.AS a direct and proximate result of the aforementioned negligence and deviation
ii‘orn the standard of care on the part of the Defendant Dr. Durrani, Plaintift` sustained all
damages requested in the Prayer for Relief.

COUNT l]: BATTERY

410. Dr. Durrani committed battery against Plaintiff by performing a surgery that was
unnecessaiy, contraindicated for Plaintiff's medical condition, and for which he did not

properly obtain informed consent, inter alia, by using BMP-Z, PureGen and/or Baxano in

gm

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ways and for surgeries not approved by the FDA and medical community, and by the
failure to provide this information to Plaintiff.
41 l. P]ainliff would not have agreed to the surgery if they knew the surgery was
unnecessary, not approved by the FDA, and not indicated.
412. As a direct and proximate result of the aforementioned battery by Dr. Durrani,
PlaintiE sustained all damages requested in the Prayer for Relicf.
COUNT III: LACK OF INFORMED CONSENT
413. The informed consent forms from Dr. Durrani and CAST, which they required
Plaintifi` to sign, failed to fully cover all the information necessary and required for the
procedures and surgical procedures performed by Dr. Durrani. Dr. Durrani and CAST
each required an informed consent release.
414. In addition, no one verbally informed Plaintiff of the information and risks
required for informed consent at the time of or before P]aintiff's surgery.
415. Dr. Durrani failed to inform Plaintiff of material risks and dangers inherent or
potentially involved with her surgery and procedures
416. Had Plaintiff been appropriately informed ofthe need or lack of need for surgery
and other procedures and the risks of the procedures, Plaintiff would not have undergone
the surgery or procedures
417. As a direct and proximate result of the lack of informed consent, Plaintiff
sustained all damages requested in the Prayer for Relief.
COUNT IV: INTENTIONAL INFLIC'I'ION OF EMOTIONAL DISTRESS
41 B. Dr. Durrani’s conduct as described above was intentional and reckless

419. It is outrageous and offends against the generally accepted standards of morality.

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420. lt was the proximate and actual cause ofPlaintiiPs psychological injuries,
emotional injuries, mental anguish, suffering, and distress
421. Plaintiff suffered severe distress and anguish so serious and of a nature that no
reasonable man or woman would be expected to endure.

COUNT V: FRAUD
422. Dr. Durrani made material, false representations to Plaintift` and their insurance
company related to Plaintifi"s treatment including: stating the surgery was necessary, that
Dr. Durrani “could tix” Plaintiff, that more conservative treatment was unnecessary and
ii.rtile, that the surgery would be simple or was “no big dcal”, that Plaintiff would be
walking normally within days nder each surgery, that the procedures were medically
necessary and accurately reported on the billing to the insurance company, that the
surgery was successiirl, and that Plaintiff was medically stable and ready to be
discharged
423. Dr. Durrani also concealed the potential use of lniiise!BMP-Z and/or Puregen in
Plaintifl’s surgery, as well as other information, when he had a duty to disclose to
Plaintiff his planned use of the same.
424. These misrepresentations andfor concealrnents were material to Plaintifl` because
they directly induced Plaintiff to undergo her surgery.
425. Dr. Durrani knew or should have lmown such representations were false, and/or
made the misrepresentations with utter disregard and recklessness as to their truth that
knowledge of their falsity may be inferred.
426. Dr. Durrani made the misrepresentations before, during and after the surgery with

the intent of misleading Plaintifi` and their insurance company into relying upon thcm.

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Specitieally, the misrepresentations were made to induce payment by the insurance
company, without which Dr. Durrani would not have performed the surgery, and to
induce Plaintifl` to undergo the surgery without regard to medical necessity and only for
the purpose of receiving payment
427. The misrepresentations and/or eoncealments were made during Plaintift’s office
visits at Dr. Durrani’s CAST offices
428. Plaintiff was justified in their reliance on the misrepresentations because a patient
has a right to trust their doctor and that the facility is overseeing the doctor to ensure the
patients of that doctor can trust the facility.
429. As a direct and proximate result ofthe aforementioned ii‘aud, Plaintiff did
undergo surgery which was paid for in whole or in part by their insurance company, and
suffered all damages as requested in the Prayer for Relief.

COUNT VI: SPOLIATION OF EV]DENCE
430. Dr. Durrani willfully altered, destroyed, delayed, hid, modiEed and/or spoiled
(“spoiled“) Plaintiff's records, cmails, billing records, paperwork and related evidence.
43 ] . Dr. Durrani spoiled evidence with knowledge that there was pending or probable
litigation involving Plaintii'f.
432. Dr. Durrani‘s conduct was designed to disrupt Plaintift’s potential and!or actual
ease, and did in fact and proximately cause disruption, damages and harm to Plaintiff.

COUNT VII: LOSS OF CONSORTIUM

433. At all times relevant, the Plaintift`s were married
434. As `a result of the wrongful acts and omissions ofDr. Durrani, Plaintiffs were

caused to suffer, and will continue to suffer in the future, loss of consortium, loss of

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society, loss of affection, loss of assistance, and loss of conjugal fellowship, all to the
detriment ofPlaintiH`s’ marital relationship
435. All the aforesaid injuries and damages were caused proximately by the acts and
omissions of Dr. Durrani.
CAST COUNTS:
COUNT I: VICARIOUS LlA.BlLITY
436. At all times relevant, Defenth Dr. Durrani was an agent, and/or employee of
CAST.
437 . Dr. Durrani is in fact, the owner of CAST.
43 8. Defendant Dr. Durrani was performing within the scope of his employment with
CAST during the care and treatment of Plaintiti`.
439. Defendant CAST is responsible for harm caused by acts of its employees for
conduct that was within the scope of employment under the theory of respondeat
superior.
440. Defendant CAST is vicariously liable for the acts of Defendant Dr. Durrani
alleged in this Complaint including ali ofthe counts asserted against Dr. Durrani directly.
441. As a direct and proximate result of Defenth CAST’s acts and omissions,
Piaintiff sustained all damages requested in the Prayer for Relief.
CQUNT II: NEGL]GENT H[RING, R.E'I'ENTION, AND SUPERVISION
442. CAST provided Dr. Durrani. inter alia, iinancial support, control, medical
facilities, billing and insurance payment support, staff support, medicines, and tangible

items for use on patientsl

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443. CA ST and Dr. Durrani participated in experiments using BMP~2 and/or Puregen
bone graft on patients, including Plaintiff, without obtaining proper informed consent
thereby causing harm to Plaintiff.
444. CAS'I` breached its duty to Plaintiff, inter alia, by not supervising or controlling
the actions of Dr. Durrani and the doctors, nurses, staff, and those with privileges, during
the medical treatment of Plaintiii" at CAST.
445. The Safe Medica] Device Act required entities such as CAS'I' to report serious
injuries, serious illnesses, and deaths related to failed medical devices to the FDA and the
manufacturer; this was never done
446. Such disregard for and violations of federal law represents strong evidence that
CAST negligently hired, retained, and supervised Dr. Durrani.
447. As a direct and proximate result of the acts and omissions herein described,
including but not limited to failure to properly supervise medical treatment by Dr.
Durrani, Plaintiff sustained all damages requested in _the Prayer for Reliet`.

COUNT III: SPOLIATION OF EVIDENCE
448. CAST, through its agents and employees, willfully altered, destroyed, delayed,
hid, modified andlor spoiled (“spoiled"] Plaintiff’s records, emails, billing records,
paperwork and related evidence
449. CAST, through its agents and employees, spoiled evidence with knowledge that
there was pending or probable litigation involving Plaint.iff.
450. CAST’s conduct was designed to disrupt Piaintift’s potential and/or actual case,

and did in fact and proximately cause disruption, damages and harm to Plaintifl".

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COUNT III: FRAUD
451. CAST sent out billing to Plaintiffat her home following her surgeries at Jom'ney
Lite Hospital.
452. The exact dates these medical bills were sent out are reflected in those medical
bills.
453. These bills constituted affirmative representations by CAST that the charges
related to Plairrtiii‘s surgeries were medically appropriate and properly documented
454. The bills were sent with the lmowledge of CAST that in fact Plaintiff’s surgeries
were not appropriately billed and documented and that the services rendered at Journey
Lite Hospital associated with Dr. Durrani were not appropriate
455. The bills sent by CAST to Plaintiii" falsely represented that Plaintiff’s surgeries
were appropriately indicated, performed and medically necessary in contra-indication of
the standard of care.
456. Plaintiff relied on the facility holding Dr. Durrani out as a surgeon and allowing
him to perform surgeries at its health care facility as assurance the facility was overseeing
Dr. Durrani, vouching for his surgical abilities, and further was appropriately billing
Plai.ntiff for CAST’s services in association with Dr. Durrani’s surgery.
457. As a direct and proximate result of this reliance on the billing of CAST, Plaintiff
incurred medical bills that she otherwise would not have incurred.
458. CAST also either concealed from Plaintiff that they knew about Dr. Durrani,
including that lnfuselBMP-Z and/or Puregen would be used in Plaintiif's surgeries, or
misrepresented to Plaintiff the nature of the surgeries, and the particular risks that were

involved therein.

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459. CAST’s concealments and misrepresentations regarding InfusefBMP-Z and/or
Puregen and the nature and risks of Plaintift’s surgeries were material facts.
460. Because of its superior position and professional role as a medical service
provider, CAST had a duty to disclose these material facts to Plaintiff and a duty to
refrain from misrepresenting such material facts to Plaintiff.
461. CAS"I` intentionally concealed and/or misrepresented said material facts with the
intent to defraud Plaintiii° in order to induce Plaintii`f to undergo the surgerice, and
thereby profited ii'om the surgeries and procedures Dr. Durrani performed on Plaintiff at
Joumey Lite Hospital.
462. Plaintii"`f was unaware that BMP-2 and/or Puregen would be used in Plaintiff's
surgeries and therefore, was unaware of the health risks of lniirse/BMP-Z and/or
Puregen’s use in Plaintih°s spine.
463. Had Plairrtiff known before Plaintift’s surgeries that lnh.rseJBMP-Z and/or
Puregen would he used in Plaintiff's spine and informed of the speciiic, harmful risks
flowing therefrom, Plaintiff would not have undergone the surgery with Dr. Durrani at
Jourrrey Lite Hospital.
464. As a direct and proximate result of the fraud against plaintiff by CAST, Plaintiff
sustained all damages requested in the prayer for relief.

COUNT IV: OHIO CONSIJMER SALES PROTECTION ACT
465. Although the {)hio Consumer Sales Protection statutes O.R.C 1345.01 et seq.
exempts physicians, a transaction between a hospital and a patient/consumer is not

clearly exempted

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466. CAST’s services rendered to Plaintiff constitute a “consumer transaction" as
cleaned in one section 1345.01(A).

467. CAST omitted suppressed and concealed from Plaintiffs facts with the intent that
Plaintiifs rely on these omissions, suppressions and concealments as set forth herein.
468. ' CAST's misrepresentations, and its omissions, suppressions and concealments of
fact, as described above, constituted unfair, deceptive and unconscionable acts and
practices in violation ofO.R.C 1345.02 and 1345.03 and to Substantive Rules and case
law.

469. CAST was fully aware of its actions.

470. CAST was fully aware that Plaintiffs were induced by and relied upon CAST's
representations at the time CAST was engaged by Plaintiffs.

471. Had PlaintiH`s been aware that CAST’s representations as set forth above were
untrue, Plaintifi's would not have used the services of Defendants.

472. CAST, through its agency and employees knowingly committed the unfair,
deceptive and/or unconscionable acts and practices described above.

473. CAST’s actions were not the result of any bona tide errors.

474. As a result of CAST’s unfair, deceptive and unconscionable acts and practices,

Plaintiffs have suffered and continues to suffer damages, which include, but are not

limited to the following:
a. Loss Of money paid
b. Severe aggravation and inconveniences

c. Under O.R.C. 1345.01 Plaintiffs are entitled to:

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ii.

iii.

An order requiring that CAST restore to PlaintiH`s all money received ii'om
Plaintiffs plus three times actual damages and/or actual/statutory damages for each
violation;

All incidental and consequential damages incurred by Plaintiffs;

A.ll reasonable attorneys’ fees, witness fees, court costs and other fees incurred;

COUNT V: LOSS OF CONSORTIUM
475. At all times reievant, the Plaintiffs were married.
476. As a result of the wrongful acts and omissions of CAST, Plaintiffs were caused to
suffer, and will continue to suffer in the iiiture, loss of consortium, loss of society, loss of
affection, loss of assistance, and loss of conjugal fellowship, all to the detriment of
P]aintiffs' marital relationship
477. Ail the aforesaid injuries and damages were caused proximately by the acts and
omissions of CAST.

JOURNEY LITE OF ClNClNNATI, LLC COUNT§:
COUNT I: VICARIOUS LlABILlTY

478. At all times relevant, Defendant Dr. Durrani was a.n agent, apparent agent, and/or
employee of Journey Lite.
479. Dr. Durrani is in fact, a partial owner or shareholder of.loumey Litc.
480. Defendant Dr. Durrani was performing within the scope of his agency, real or
apparent with J carney Lite during the care and treatment ofPlaintiff`.
481. Defenth J carney Lite is responsible for harm caused by acts of its agents and

apparent agents for conduct that was within the scope of agency under the theory of

respondeat superior.

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482. Defendant Joumey Lite is vicariously liable for the acts ofDefendant Dr. Durrani

alleged in this Complaint including all of the counts asserted against Dr. Durrani directly.

483. As a direct and proximate result ofDefendant Joumey Lite’s acts and omissions,

Plaintiff sustained severe and grievous injuries, prolonged pain and sult`ering, emotional

distress, humiliation, discomfort, loss of enjoyment of life, and loss of ability to perform

usual and customary activities and incurred substantial medical expenses and treatment
COIJNT II: NEGL]GENT CREDENTIALING & RETENTION

484. As described in the Counts asserted directly against Dr. Durrani, the actions of Dr.

Durrani with respect to Plaintitf constitute physician negligence and medical malpractice

485. Journey Lite negligently credentialed and retained Dr. Durrani as a credentialed

physician by:

a. Allowing Dr. Durrani to repeatedly violate the Joumey Lite bylaws with it’s full

knowledge of the same;

b. Failing to adequately review, look into, and otherwise investigate Dr. Durrani‘s

educational background, work history and peer reviews when he applied for privileges at

Joumey Lite;

c. lgnoiing complaints about Dr. Durrani’s treatment of patients reported to it by

Joumey Lite staff, Dr. Durrani’s patients and by others;

d. Ignoring Dr. Durrani’s previous privilege terminations Jd‘on'l other Cincinnati area

hospitals, including Joumey ]..ite, Deaconess Hospital, Good Samaritan Hospital, Chiist

Hospital and West Chester Hospital.

486. The Safe Medical Device Act required entities such as Joumey Lite to report

serious injuries, serious illnesses1 and deaths related to failed medical devices to the FDA

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and the manufacturer; this was never done.
487. Such disregard for and violations of federal law represents strong evidence that
Joumey Lite negligently granted and retained privileges for Dr. Durrani.
488. As a direct and proximate result of the negligent credentialing a_nd retention of Dr.
Durrani, Plaintiff sustained severe and grievous injuries, prolonged pain and suffering,
emotional distress, humiliation, discomfort, loss of enjoyment oflife, and loss of ability
to perform usual and customary activities and incurred substantial medical expenses and
treatment that Plaintifl' would not otherwise have incurred had Dr. Durrani not been
credentialed by Joumey Lite.

COUNT III: FRAUD
489. Ohio Administ:rative Code 3701-83-07(A)(5) states, “Each patient shall receive, if
requested, a detailed explanation of facility charges including an itemized bill for services
rendered.
490. The bills sent to Plainu'ff, aiter multiple requests, were in violation Ohio
Adminisaaave code 3701-83-07(A)(5).
491. Uport information and belief, Plaintiff believes that Dr. Durrani implanted BMP-
2Ior Puregen into Plaintiff. (see exhibit A)
492. Even alter Plaintifl’s Counsel and the Ohio Attorney General requested itemized
billing, Joumey Lite still did not provide an itemized breakdown of the charges; instead
Joumey Lite continued to provide “Account Ledgers,” which contained barebones

“Insurance Billing" and “Insurance Payrnents.”

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493.- Due to Joumey Lite's downrigbt refusal to comply with Plaintiii‘s request for
itemized billing, Plaintitt` has been forced to die a class action suit against Joumey Lite’s
for their egregious billing practices.

494. The bills sent by Joumey Lite to Plaintiff falser represented that Plaintiii’s
surgeries were appropriately indicated, performed, and medically necessary in contra-
indication of the standard ofcare.

495. Upon information and belief, Plaintiff believes the bills requested by Plaintii‘f will
indicate that Joumey Lite Hospital falsely represented that Plaintift" s surgery was
appropriately indicatcd, perfonned, and medically necessary in contra-indication of the
standard of care.

496. The bills were sent to Plaintift"s insurance company with the knowledge of
Joumey Lite that in fact Plaintifl‘s surgeries were not appropriately billed and
documented and that the services rendered at Joumey Lite associated with Dr. Durrani
were not appropriate

497. PlaintiHs relied on the facility holding Dr. Durrani out as a surgeon and allowing
him to perform surgeries at its health care facility as assurance the facility was overseeing
Dr. Durrani, vouching for his surgical abilities, and further was appropriately billing
Plaintiffs for Joumey Lite’s services in association with Dr. Durrani’s surgeries

498. As a direct and proximate result of this reliance on the billing of Joumey Lite,
Plaintiff incurred medical bills that she otherwise would not have incurred

499. Joumey Lite also either concealed from Plaintiff that they knew about Dr.

Durrani, including that Iniirser‘BMP-Q and!or Puregen would be used in Plaintifi’s

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surgeries, or misrepresented to Pl aintiit` the nature of the surgeries and the particular risks
that were involved therein.

500. J carney Lite's concealments and misrepresentations regarding lnfuselBMP -2
and/or Puregen and the nature and risks of Plaintiff’s surgeries were material facts.

501. The use of BMP-2 increases a person’s chance of cancer by 3.5%.

502. Due to the unnecessary surgeries Dr. Durrani performed, Plaintiff has a 3.5‘
increased chance of cancer because of the use ofBMP-Z.

503. As a direct and proximate result of the use and implementation of lnlirse/BMP-2
Plaintiff has incurred a 3.5% increase in the risk of Cancer. As a result Plaintiff has an
increased fear of cancer.

504. Because of its superior position and professional role as a medical service
prcvider, Joumey Lite had a duty to disclose these material facts to Plaintiffs and a duty
to refrain from misrepresenting such material facts to Plaintiffs.

505 . ' Joumey Lite intentionally concealed and/or misrepresented said material facts
with the intent to defraud Plaintiff in order to induce P]aintiii` to undergo the surgeries,
and thereby profited from the surgeries and procedures Dr. Durrani performed on
Plaintiff at Joumey Lite.

506. Plaintiff was unaware that hrii.rsefBMP-Z and/or Puregen would be used in
Plaintiff’s surgeries and therefore, was unaware of the health risks of Iniirser'BMP-Z or
Puregen‘s use in Plaintiti"s spine.

507. Had Plaintiff known before Plaintifr"s surgery that Puregen would be used in
Plaintiff's spine and informed of the specidc, harmful risks flowing there from, Plaintiff

would not have undergone the surgeries with Dr. Durrani at Joumey Lite.

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508. Plaintiif is still awaiting billing from Joumey Lite Hospital reflecting the exact
totals charged for the use ofBMP-2 on Plainh’fl`.
509. As a direct and proximate result of the fraud upon Plaintiiis by Joumey Lite,
Plaintiff sustained all damages requested in the prayer for relief.
COUNT IV: SPOLIATION OF EV'IDENCE

510. J carney Lite through its agents and cmployees, willfully altered, destroyed,
delayed, hid, modified and/or spoiled (“spoiled”) Plaintiff‘s records, billing records,
paperwork and related evidence
51 ]. J carney Lite through its agents and employees, spoiled evidence with knowledge
that there was pending or probable litigation involving Plaintiff.
512. Joumey Lite’s conduct was designed to disrupt Plaintil"f‘s potential andlor actual
case, and did in fact and proximately cause disruption, damages and harm to Plaintiff.

COUNT V: OHIO CONSUMER SALES PROTECTIDN ACT
513. Although the Ohio Consurner Sales Protection statutes O.R.C 1345.01 et seq.
exempts physicians, a transaction between a hospital and a patient/consumer is not
clearly exempted
514. Joumey Lite’s services rendered to Plaintii‘f constitute a “consurner transaction”
as defined in ORC Section 1345.01(A).
515. Joumey Lite omitted suppressed and concealed from Plaintiffs facts with the
intent that Plaintiffs rely on these omissions, suppressions and concealments as set forth
hercin.
516. Joumey Lite’s misrepresentations, and its omissions, suppressions and

concealments of fact, as described above, constituted unfair, deceptive and

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unconscionable acts and practices in violation of O.R.C 1345.02 and 1345.03 and to
Substantive Rules and case law.

517. Joumey Lite was fully aware of its actions.

518. Joumey Lite was fully aware that Plaintifl`s were induced by and relied upon
Joumey Lite’s representations at the time Joumey Lite was engaged by Plaintiffs.

519. Had Plaintiffs been aware that Joumey Lite’s representations as set forth above
were untrue, Plaintiffs would not have used the services ofDefendants.

520. Joumey Lite, through its agency and employees knowingly committed the unfair,
deceptive and/or unconscionable acts and practices described above.

521. Joumey Lite’s actions were not the result of any bona tide errors.

522. As a result of Joumey Lite’s unfair, deceptive and unconscionable acts and

practices, Plaintiffs have suffered and continues to suffer damages, which include, but are

not limited to the following:
a. Loss of money paid
b. Severe aggravation and inconveniences

c. Under O.R.C. 1345.01 Plaintiffs are entitled to:

i. An order requiring Joumey Lite restore to Plaintiffs all money received from
Plaintift`s plus three times actual damages and/or actualfstatntory damages for each
violation;

ii. All incidental and consequential damages incurred by Plaintiffs;

iii. All reasonable attorneys’ fees, witness fees, court costs and other fees incurred ;

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COUNT : P ODU S LlABILITY
523. At all times lnti.tsc/BMP-Z and Puregen are and were products as defined in R.C.
§ 2307.71(A)(12) and applicable law.
524. Joumey Lite (aka supplier) supplied either Medtronic’s (aka manufactured
Iniiise/BMP-Z or Alphatec Spine’s (aka manufactured Puregen for surgery performed by
Dr. Durrani on Plaintiff.
525. Joumey Lite, as a supplier, failed to maintain either lnlirse/BMP-Z or Puregen
properly.
526. Joumey Lite did not adequately supply all components required to use either
InfusefBMP-Z or Puregen properly.
527. journey Lite knew or should have known the FDA requirements and Medtronic’s
requirements for using either InfuseJBMP-Z or Puregen.
528. Joumey Lite stored either lnii.lse/BMP-Z or Puregen at its facility.
529. Joumey Lite ordered either Infuse/BMP-Z or Puregen for surgery performed by
Durrani.
530. Joumey Lite did not adequately warn Plaintiif that either lnii:se/BMP~Z or
Puregen would be used without all FDA and manufacturer required components
531 . Joumey Lite did not gain informed consent from Plaintift` for the use of either
lnliJse/BMP-Z or Puregen, let alone warn of the supplying of the product without FDA
and manufacturer requirements
532. Joumey Lite failed to supply either hifustBMP-Z or Puregen (alca product) in the

manner in which it was represented

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533. Joumey Lite failed to provide any warning or instruction in regard to either
lnfuse/BMP-Z or Puregen, and failed to make sure any other party gave such warning or
instruction

534. Joumey Lite intentionally billed bitiise/BMP-Z and/or Puregen as
“Miscellaneous” to prevent discovery of the use of lofuse/BMP-2 and/or Puregen by
Plaintiffs.

535. Plaintiff suffered physical, iinancial, and emotional harm due to Joumey Lite's
violation of the Ohio Products Liability act. Plaintitf's injuries were a foreseeable risk
536. Plaintiif did not alter, modify or change the product1 nor did Plaintiff know that
the product was being implanted without all required components

53 'l. Joumey Lite knew or should have known that the product was exu'emely
dangerous and should have exercised care to provide a warning that the product was
being used and that the product was being used outside FDA and manufacturer
requirementsl The harm caused to Plaintiff by not providing an adequate warning was
foreseeable,

53 8. J carney Lite knew that the product did not conform to the representation of the
intended use by the manufacturer yet permitted the product to be implanted into Plaintiff.
539. Joumey Lite, as a supplier, acted in an unconscionable manner in failing to supply
the product without all FDA and manufacturer required components

540. Joumey Lite, as a supplier, acted in an unconscionable manner in failing to warn
Plaintiff that the product was being supplied without ali FDA and manufaenirer required

components

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541. Joumey Lite's actions demonstrate they took advantage of the Plaintiffs inability,
due to ignorance of the product, to understand the product being implanted without FDA
and manufacturer required components
542. Joumey Lite substantially benefited financially by the use of the product as the
product allowed for l carney Lite to charge more for the snrgery.
543. Plaintiff suffered economic loss as defined in FcC. § 2303.71(A){2) and
applicable law.
544. Plaintiff suffered mental and physical harm due to Joumey Lite’s acts and
omissions
545. Plaintiff suEered emotional distress due to acts and omissions of Joumey Lite and is
entitled to recovery as defined in R.C. § 2307.71(A)(7) and applicable law.
546. J money Lite violated the Ohio Products Liability Act R.C. § 2307.71-2307.80
541 tenney Lite violated R.c. § zaov.nta)(&)
548. Joumey Lite violated The Ohio Consumer Sales Practiees Act R.C. § 1345.02-.03.
549. Joumey Lite provided inadequate warnings are defined in It.C, § 230?.?6(A) and
applicable law.

COUNT VII: LOSS OF CONSORTIUM
550. At all times rclevant, the Plain’ciffs were married
551. As a result of the wrongful acts and omissions orourney Lite, Plaintiffs were caused to
suffer, and will condone to suffer in the iiature, loss of consortium, loss of society, loss of
affection, loss of assistance and loss of conjugal fellowship, all to the detriment cf Pleinti&’
marital relationship
552. All the aforesaid injuries and damages were caused proximately by the acts and

omissions ofJoumey Lite.

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PRAYER FOR RELIE,I_¢`
WHEREFORE, Plaintiff requests and seeks justice in the form and procedure of

a jury, verdict and judgment against Defendants on all claims for the following damagcs:

l. Past medical bills;

2. Future medical bills;

3. Lost income and benefits;

4. Lost future income and benefits;

5. Loss of ability to earn income;

6- Past pain and suifering;

7. Fnture pain and suffering;

B. Plaintiff seeks a binding that their injuries are catastrophic under Ohio Rev. Code

§23 l 5.18;

9. Plaintiff seeks all relief available under the Ohio Products Liabi]ity Act R.C. § 2307.‘71 -

2307.80 and applicable law;

10.
ll.
12.
13.
]4.
15.
16.
17.

18.

All incidental costs and expenses incurred as a result of their injuries;
The damages to their credit as a result of their injuries;

Loss ofconsortium;

Punitive damages;

Costs;

Attorneys‘ fees;

lnterest_:

All property loss;

All other relief to which they are entitled including O.R.C. 1345.0]

Based upon l-l 8 itemization of damages, the damages sought exceed the minimum jurisdictional

amount of this Court and P]aintiff seeks in excess of $25,000.

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Respectii.\lly Submitted,

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QQI_ZY DEMAND

PlaintiHS make a demand for ajm'y under all claims f

Matthew Hammer (0092483)
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